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                 Appendix – Unpublished Cases
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Abbott Laboratories v. Selfcare, Inc., Not Reported in F.Supp.2d (1999)
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                                                                             On August 5, 1998, the Massachusetts district court denied
                                                                             Abbott's motion for a preliminary injunction. In doing so,
      KeyCite Yellow Flag - Negative Treatment                               it relied upon pleadings, affidavits, and memoranda of law,
Distinguished by Laboratories v. Teva Pharmaceuticals USA, Inc., N.D.Ill.,
                                                                             and heard oral argument. Abbott Lab. v. Selfcare, Inc., 17
November 12, 2008
                                                                             F.Supp.2d 43, 45 (D.Mass.1998). On October 23, 1998,
                   1999 WL 162805
                                                                             defendants filed a motion for leave to amend their answer and
    Only the Westlaw citation is currently available.
                                                                             counterclaim to assert that Abbott had infringed two patents
             United States District Court,
                                                                             owned by PBM–Selfcare, United States Patent No. 5,559,041
            N.D. Illinois, Eastern Division.
                                                                             (the “ '041 patent”) and United States Patent No. 5,728,587
        ABBOTT LABORATORIES, Plaintiff,                                      (the “ '587 patent”). The motion also sought leave to add
                       v.                                                    PBM–Selfcare as a co-counterplaintiff. That motion is still
                                                                             pending before the Massachusetts district court.
     SELFCARE, INC., Princeton Biomeditech
 Corporation, and PBM–Selfcare, L.L.C., Defendants.
                                                                             On November 5, 1998, a day before it filed a response to that
                           No. 98 C 7102.                                    motion, Abbott Laboratories filed this declaratory judgment
                                 |                                           action. It seeks a declaration that the '041 patent and the '587
                           March 15, 1999.                                   patent, the subjects of defendants' proposed counterclaim in
                                                                             the Massachusetts lawsuit, are invalid.

                                                                             On December 7, 1998, defendants moved to dismiss or
                  MEMORANDUM OPINION
                                                                             transfer this action. We indicated at a subsequent status
GRADY, District J.                                                           hearing that we would be unlikely to dismiss the case, and
                                                                             directed the parties to file memoranda on the issue of transfer,
 *1 Before the court is defendant's motion to dismiss or                     with a particular focus on the likelihood of duplication of
transfer. For the reasons explained below, the motion to                     effort or inconsistent rulings.
transfer is granted.


                                                                                                       DISCUSSION
                          BACKGROUND
                                                                             “For the convenience of parties and witnesses, in the
All of the parties to this case engage in the business of home               interest of justice, a district court may transfer any civil
pregnancy tests that employ immunoassay technology. This                     action to any other district or division where it might
technology allows consumers to detect the presence of a                      have been brought.” 28 U.S.C. § 1404(a). In other words,
pregnancy hormone in a woman's urine. Apparently, each side                  transfer is appropriate where: “(1) venue is proper in both
believes that the other's product has infringed its patents.                 the transferor and transferee court; (2) transfer is for the
                                                                             convenience of the parties and witnesses; and (3) transfer is
On April 17, 1998, Abbott Laboratories (“Abbott”) filed                      in the interest of justice.” Law Bulletin Publ'g, Co. v. LRP
a complaint in the United States District Court for the                      Publications, Inc., 992 F.Supp. 1014, 1017 (N.D.Ill.1998)
District of Massachusetts (the “Massachusetts district court”)               (citing Vandeveld v. Christoph, 877 F.Supp. 1160, 1167
against two of the defendants in the instant case, Selfcare,                 (N.D.Ill.1995). Because the parties agree that venue is proper
Inc. (“Selfcare”) and Princeton Biomeditech Corporation                      in both Massachusetts and Illinois, we need only address the
(“PBM”). 1 The Massachusetts lawsuit involves United                         second and third elements. Because the interests of justice
States Patent No. 5,654,162 (the “ '162 patent”) and United                  “may be determinative in a particular case, even if the
States Patent No. 5,073,484 (the “ '484 patent”). Abbott                     convenience of the parties and witnesses might call for a
alleged that defendants had infringed those patents by                       different result,” we begin our discussion there. See Coffey v.
manufacturing and marketing a variety of home pregnancy                      Van Dorn Iron Works, 796 F.2d 217, 220 (7th Cir.1986).
tests that use immunoassay technology.

                                                                             A. Interests of Justice



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 *2 When a case is transferred to a district in which a              identical issues that might arise in each court, quite apart from
related case is pending, the expectation is that the two             Markman issues. For example, the discovery process might
cases will be consolidated pursuant to Rule 42(a) of the             produce unseemly confusion or conflict between the courts. 3
Federal Rules of Civil Procedure, if practicable. Waller v.
Burlington N. R.R. Co., 650 F.Supp. 988, 991 (N.D.Ill.1987).
Consolidation not only conserves scarce judicial resources,          B. Convenience
but also reduces the resources ultimately expended by the             *3 Normally, the moving party must show that the transferee
litigants. Keppen v. Burlington N. R.R. Co., 749 F.Supp.             court is more convenient. Heller Fin., Inc. v. Midwhey Powder
181, 183–84 (N.D.Ill.1990). By preventing duplicative efforts        Co., Inc., 883 F.2d 1286, 1293 (7th Cir.1989); Chemical
on the part of both the courts and the parties, transfer and         Waste Management, Inc. v. Sims, 870 F.Supp. 870, 876
subsequent consolidation serve the interests of justice within       (N.D.Ill.1994). In determining whether the moving party has
the meaning of the venue transfer statute. As the Supreme            met its burden, the court should consider: (1) plaintiff's forum
Court has acknowledged, “[t]o permit a situation in which two        choice; (2) the situs of material events; (3) ease of access to
cases involving precisely the same issues are simultaneously         evidence; (4) convenience of witnesses; and (5) convenience
pending in different District Courts leads to the wastefulness       of the parties. College Craft Cos., Ltd. v. Perry, 889 F.Supp.
of time, energy and money that § 1404(a) was designed                1052, 1054 (N.D.Ill.1995); Chemical Waste, 870 F.Supp. at
to prevent.” Continental Grain Co. v. Barge FBL–585, 364             876.
U.S. 19, 26 (1960). Transfer of venue also curbs the risk of
inconsistent judgments. Countryman v. Stein Roe & Farnham,           Here, however, there is no indication that the relative
681 F.Supp. 479, 484 (N.D.Ill.1987). These concerns have led         conveniences favor one forum over the other. The two actions
this district to adopt “a strong policy in favor of transferring a   will likely involve many of the same witnesses and much
case to the district where a related action is pending.” Keppen,     common documentary evidence. Discovery will occur at the
749 F.Supp. at 184.                                                  appropriate locations under the Rules, regardless of where the
                                                                     cases are pending.
The existence of the pending related action in Massachusetts
persuades us to transfer this case. Abbott argues that the           The interests of justice render the plaintiff's choice of
actions differ because the Massachusetts lawsuit involves            forum, and the corresponding “first-to-file” doctrine, largely
its patents while this action involves Selfcare's patents. 2         irrelevant. Abbott correctly points out that the doctrine
The two actions, even though directed to different patents,          applies to declaratory judgment actions in patent cases.
involve the same parties and substantially similar technology.       Genentech, Inc. v. Eli Lilly & Co., 998 F.2d 931, 938
They also involve similar complex factual and legal questions        (Fed.Cir.1993). Nonetheless, where the interests of justice,
that will require the expenditure of considerable time and           especially “considerations of judicial and litigant economy,”
effort. Requiring two courts to devote limited resources             demand it, the trial court has discretion to dismiss a first-
educating themselves about the same underlying technology            filed action. Serco Servs. Co., L.P. v. Kelley Co., Inc., 51 F.3d
would undermine values of judicial economy. By holding               1037, 1039 (Fed.Cir.1995) (citation omitted). By extension,
a preliminary injunction hearing, the Massachusetts district         considerations of judicial economy warrant transfer, a far less
court has already familiarized itself with this technology.          drastic remedy than dismissal. 4
There is no reason we should duplicate those efforts. Abbott
also argues that additional discovery in these intertwined
actions would “bog the parties down,” but fails to persuade
                                                                                            CONCLUSION
us that this would occur. Appropriate case management will
avoid any such problem.                                              For the foregoing reasons, we grant defendant's motion
                                                                     to transfer, which renders moot the defendant's alternative
In addition, we do not wish to risk conflicting rulings. Abbott      motion to dismiss. Pursuant to 28 U.S.C. § 1404(a), this case
argues that the Massachusetts district court has not indicated       will be transferred to the United States District Court for the
that it intends to hold a Markman hearing, but that fact             District of Massachusetts.
does not assuage our concerns. First, that court's present
disinclination to hold a hearing does not mean that such a
hearing will never take place. Second, we can imagine many



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All Citations

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Footnotes
1      PBM–Selfcare, L.L.C., a subsidiary of the two named defendants and the third defendant in this case, was not named
       in that action.
2      Abbott further argues that the immunoassay technology is extremely common, and this scientific process has been the
       subject of many federal cases. Contrary to Abbott's implication, however, our holding today is not precedent for the
       transfer of all cases involving this technology, regardless of the identity of the parties and the existence of a relationship
       between the patents, to the Massachusetts district court. Nor would our ruling today require all unrelated cases between
       these particular parties to go before the Massachusetts district court. It addresses only the facts of this case, which involve
       the same parties' claims regarding substantially similar patent issues.
3      The parties' submissions on this motion illustrate this example. They appear to differ strongly over whether a discovery cut-
       off for March 31, 1999, exists in the Massachusetts action. Because any dispute over discovery in that lawsuit is properly
       before the Massachusetts district court, we take no position on it here. We only note that, were we to do so, we might
       well risk coming into conflict with a subsequent order by the Massachusetts district court on precisely the same issue.
4      Because the interests of justice are determinative of this case, we need not resolve the parties' dispute over which party
       filed first. The dispute seems to depend largely on whether the Massachusetts district court grants defendant's motion for
       leave to file a counterclaim in that action. For the purposes of this motion only, we assume that Abbott's instant declaratory
       judgment action was the first to be filed.


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                                                                   Greater Yellowstone Area (“GYA”) and surrounding area as
                                                                   a distinct population segment (“DPS”) pursuant to 16 U.S.C.
                 2007 WL 4365340
                                                                   § 1532(16) and thereby removed that DPS from the list of
    Only the Westlaw citation is currently available.
                                                                   threatened and endangered species under the Endangered
             United States District Court,
                                                                   Species Act of 1973 (“ESA”), as set forth in 50 C.F.R. § 17.11.
                    N.D. Illinois,
                                                                   On August 2, 2007, Plaintiff filed this suit for declaratory and
                  Eastern Division.
                                                                   preliminary and permanent injunctive relief under the citizen
              Robert H. ALAND, Plaintiff,                          suit provision of the ESA, 16 U.S.C. § 1540(g)(1), and the
                          v.                                       Administrative Procedure Act (“APA”), 5 U.S.C §§ 551-706,
        Dirk KEMPTHORNE, et al., Defendants.                       seeking to declare invalid and enjoin the implementation of
                                                                   the Final Rule.
                       No. 07-CV-4358.
                               |                                   Plaintiff, who resides in Illinois, regularly enjoys visits to the
                        Dec. 11, 2007.                             GYA, including areas known to be inhabited by grizzly bears.
                                                                   Between 1998 and the present, Plaintiff has visited the GYA
Attorneys and Law Firms                                            on almost a monthly basis, staying for six to ten days or more
                                                                   at a time. Over the past few years, Plaintiff has been active
Robert H. Aland, Winnetka, IL, pro se.
                                                                   in seeking to protect and preserve the habitat for the grizzly
Coby H. Howell, U.S. Attorney's Office, Portland, OR, Kurt         bears through financial and physical endeavors. Plaintiff
N. Lindland, United States Attorney's Office, Chicago, IL, for     submitted initial written comments in February 2006 to FWS
Defendants.                                                        in opposition to the proposed de-listing of the grizzly bears,
                                                                   and he supplemented those initial comments throughout 2006
                                                                   and 2007. Following the issuance of the Final Rule, which
                                                                   removed the DPS of grizzly bears in the GYA from the
        MEMORANDUM OPINION AND ORDER
                                                                   list of threatened and endangered species under the ESA,
JAMES B. ZAGEL, District Judge.                                    Plaintiff filed this lawsuit complaining: (1) FWS erroneously
                                                                   concluded that grizzly bears have recovered in the GYA; (2)
   I. Introduction                                                 FWS's designation of the grizzly bears as a DPS violated
 *1 This matter is before the Court on Motion to Transfer          the ESA and FWS policy; (3) FWS failed adequately to
Venue pursuant to 28 U.S.C. § 1404(a), filed by H. Dale            consider the present or threatened destruction, modification or
Hall, U.S. Fish and Wildlife Service Director, and Dirk            curtailment of grizzly bears' habitat or range in the GYA; (4)
Kempthorne, Secretary of the Interior (collectively “Federal       FWS failed adequately to consider overutilization of grizzly
Defendants”) on September 4, 2007. Defendants seek to              bears in the GYA; (5) FWS failed adequately to consider
transfer the case to the District of Idaho for the sake of         disease or predation that threatens grizzly bears in the GYA
judicial economy, convenience, and so the present case may         with extinction; (6) FWS failed adequately to consider the
be coordinated with a related case pending in the United           inadequacy of existing regulatory mechanisms that threaten
States District Court for the District of Idaho. Plaintiff filed   grizzly bears in the GYA with extinction; (7) FWS failed
an objection to the Motion to Transfer and Defendants filed        adequately to analyze other natural or manmade factors that
a reply in support of their Motion. I allowed Plaintiff to file    threaten grizzly bears' continued existence in the GYA; (8)
a short sur-reply, which I have read and considered. For the       FWS might have erroneously and unlawfully used factors
following reasons, Defendants' motion is granted and the case      other than the best available scientific and commercial data
shall be transferred to the District of Idaho.                     to delist grizzly bears in the GYA; (9) peer review in the
                                                                   de-listing rulemaking was fundamentally flawed; (10) FWS
                                                                   erroneously and unlawfully failed to adhere to mandatory
   II. Background                                                  procedural requirements for de-listing grizzly bears in the
This cause of action arises out of a challenge to the U.S.         GYA; (11) the public comment period was fundamentally
Fish and Wildlife Service's (“FWS”) grizzly bear Final             flawed; and (12) grizzly bears in the GYA will suffer
Rule (“Final Rule”). 72 Fed.Reg. 14866 et seq. (Mar. 29,           irreparable harm if they are allowed to be hunted beginning
2007) (to be codified at 50 C.F.R. pt. 17). The Final Rule,        in Fall 2007.
effective April 30, 2007, designated grizzly bears in the


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                                                                    indicate the relative weight to be accorded to each factor.
 *2 On June 4, 2007, a number of environmental groups               Coffey, 796 F.2d at 220 n. 3.
also filed a complaint for declaratory and injunctive relief
challenging the Final Rule in the District of Idaho. See
Complaint for Declaratory and Injunctive Relief, Western              IV. Discussion
Watersheds Project v. Servheen, No. 07-cv-243 (Jun. 4,
                                                                       A. Proper Venue
2007). In Western Watersheds, the defendants include the
                                                                    The threshold consideration in a Section 1404(a) motion is
two Federal Defendants named here, as well as Christopher
                                                                    that there must be an “other district ... where [the action] might
Servheen, FWS's Grizzly Bear Recovery Coordinator, and
                                                                    have been brought.” See Van Dusen, 376 U.S. at 616. Venue
the FWS itself (collectively “Idaho Defendants”). The Idaho
                                                                    is proper in any judicial district in which: (1) a defendant
Defendants filed their Answer on August 9, 2007. A number
                                                                    in the action resides; (2) a substantial part of the events or
of parties are currently seeking either intervenor or amicus
                                                                    omissions giving rise to the claim occurred, or a substantial
status in the District of Idaho litigation. 1 The Plaintiffs in     part of the property that is the subject of the action is situated;
Western Watersheds similarly challenge the FWS' designation         or (3) the plaintiff resides if no real property is involved in the
of the GYA grizzly bears as a DPS and the Final Rule                action. 28 U.S.C. § 1391(e) (governing venue in civil actions
removing that DPS from the federal list of endangered and           against federal officers and agencies). Neither party disputes
threatened wildlife. Both the Plaintiff here and the Plaintiffs     that venue is proper in Illinois pursuant to § 1391(e)(3).
in Western Watersheds seek a declaration that the FWS' Final        However, venue may be proper in more than one district
Rule violates the ESA and/or the APA. Plaintiff(s) in both          because, under § 1391(e)(2), “there may be several districts
cases also seek to enjoin the FWS from designating the grizzly      that qualify as a situs of such ‘substantial’ activities.” David
bears in the GYA as a DPS and from removing that DPS from           D. Siegel, Commentary on 1988 and 1990 Revision of Section
the protected ESA list.                                             1391, 28 U.S.C.A. § 1391 (1993) at 9.

Federal Defendants filed their motion to transfer this case          *3 Federal Defendants argue that a substantial part of the
to the District of Idaho over concern that litigation on the        events giving rise to the claims occurred in the District of
merits of the Final Rule in two different forums could result in    Idaho because the geographic location of the GYA grizzly
inconsistent orders. They also argue that litigation of the same
                                                                    bear DPS includes eastern Idaho. 2 Also, the FWS held one of
Final Rule in two forums needlessly wastes judicial resources.
                                                                    four open houses during the proposal period of the Final Rule
And, they request transfer to the District of Idaho because
                                                                    in Idaho in order to collect and consider comments before
Western Watersheds was filed there first.
                                                                    issuing the final order. 70 Fed.Reg. at 69854. 3 Plaintiff
                                                                    argues that these events do not fall within the ambit of what
   III. Standard                                                    was intended by § 1391(e)(2) and suggests instead that the
For the convenience of parties and witnesses, in the interest       language “substantial part of the events or omissions” more
of justice, a district court may transfer any civil action to any   readily certifies Washington, D.C. as a proper venue because
other district or division where it might have been brought.        that is where the head offices of Defendants' agencies are
28 U.S.C. § 1404(a). Section 1404(a) places discretion with         located and where Defendant Hall approved and signed the
this court to adjudicate motions for transfer according to          Final Rule. 4
“individualized, case-by-case consideration of convenience
and fairness.” Coffey v. Van Dorn Iron Works, 796 F.2d              Because a “substantial part of the events giving rise” to
217, 219 (7th Cir.1986) (quoting Van Dusen v. Barrack, 376          Plaintiff claims occurred in Idaho, venue is proper in that
U.S. 612, 622, 84 S.Ct. 805, 11 L.Ed.2d 945 (1964)). The            district. 28 U.S.C. § 1391(e)(2); see Nw. Forest Res. Council
relevant factors the district court should consider are: the        v. Babbitt, 1994 WL 908586, at *2 (D.D.C. Apr.13, 1994)
preference given to plaintiff's choice of forum; convenience of     (finding venue proper under § 1391(e) in Western District
the parties, counsel, and witnesses; the location of the record;    of Washington where population of marbled murrelets were
and the interest of justice. 15 Charles A. Wright, Arthur           located and where FWS maintained field offices that assisted
R. Miller & E. Cooper, Federal Practice and Procedure §             in promulgating the challenged rule). The gravamen of
3848-54 (2d. ed.1986). The language of § 1404(a) does not           Plaintiff's complaint is a concern for the continued viability
                                                                    of the DPS of grizzly bears located in the GYA. The area



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covered by the DPS boundaries encompasses eastern Idaho,             in Idaho, that district is more convenient. I observe that
southern Montana, and the northwest corner of Wyoming. A             Plaintiff's residence and teaching position in this District
substantial portion of the DPS is located in the District of         poses some inconvenience for him to travel to the District
Idaho. Also, during the process of designating the boundaries        of Idaho, though since he tries this case pro se, his travel
of the DPS and eventually publishing the Final Rule, the FWS         expenses are less. Further, the parties agree that this case
considered comments by those in and around the District of           will largely be decided on an administrative record and APA
Idaho. The FWS based its findings on significant quantities          review record principles, meaning that neither of the parties
of information gathered in and around the GYA because the            will have to make extensive travels to Idaho. The electronic
material facts in this case are derived from that location. The      filing system allows parties to proceed with briefing without
nexus to Idaho is clear, and therefore I find that the District of   actually traveling to the courthouse. Also, the parties agree
Idaho qualifies as a proper venue under § 1391(e)(2).                that a trial in this case is unlikely and the probability of calling
                                                                     witnesses is low, so the convenience of witnesses is not a
                                                                     salient issue either. 5
    B. Convenience
The convenience component of § 1404(a) invites me to
                                                                     The location of material events in this case and location
consider the following five factors: (1) the plaintiff's choice
                                                                     of sources of proof indicate that Idaho is a slightly more
of forum; (2) conveniences for the parties; (3) conveniences
                                                                     convenient forum. Plaintiff contends that the “material
for witnesses; (4) location of material events; and (5) location
                                                                     events” giving rise to his cause of action were Federal
and ease of access to sources of proof. Willis v. Hilton
                                                                     Defendants' decision to delist the GYA grizzly bears and the
Hotels Corp., 2007 WL 611262, at *3 (N.D.Ill. Feb.22, 2007).
                                                                     signing of the Final Rule, which took place in Washington,
Plaintiff's choice of forum is the Northern District of Illinois
                                                                     D.C. While this is true, it does not affect the convenience
because he lives in a north suburb of Chicago and beginning
                                                                     equation for this court at all. Defendants contend that the
in January 2008, he will teach a weekly class at a law
                                                                     location of the DPS of grizzly bears, which includes eastern
school located in Chicago. However, while a “large measure
                                                                     Idaho, tips the scales of convenience in favor of Idaho, which
of deference is due to the plaintiff's freedom to select his
                                                                     it does. The administrative record and culminating Final
own forum[,] ... this factor has minimal value where none
                                                                     Rule were based on research and data collected in the GYA,
of the conduct complained of occurred in the forum selected
                                                                     and the Plaintiff has already suggested that he may seek
by the plaintiff.” Chicago, Rock Island & Pac. RR. Co. v.
                                                                     permission to conduct limited discovery to supplement that
Igoe, 220 F.2d 299, 304 (7th Cir.1955) (internal quotations
                                                                     record. Presumably at least part of the information sought,
omitted); see also Ruppert v. Principal Life Ins. Co., 2007
                                                                     given the nature of Plaintiff's complaint, will be related to
WL 2025233, at *5 (S.D.Ill., July 9, 2007) (quoting the same
                                                                     events that occurred in the GYA and conditions that affect
rule); Heston v. Equifax Credit Info. Serv. LLC, No. 03 C 2476,
                                                                     the DPS at the center of this case. Also, to the extent that
2003 WL 22243986, at *1 (N.D.Ill. Sept.26, 2003) (reasoning
                                                                     the FWS' administrative record with regard to the Final
that plaintiff's failure to allege facts connecting her claims
                                                                     Rule is already being compiled and sent to the District of
to the district where the plaintiff chose to sue “weighs in
                                                                     Idaho for the Western Watersheds case, that district is more
favor of transfer”). Just like in Chicago, Rock Island, this
                                                                     convenient for the sources of proof in this case (although
case involves “no controverted question which depends on
                                                                     not by much because to the extent that record is stored
any event occurring in the Northern District of Illinois. Both
                                                                     electronically, copies of CDs or PDFs are easily made and
parties must rely upon evidence of events entirely removed
                                                                     distributed). Overall, because there is no material connection
from [this] District.” Chicago, Rock Island, 220 F.2d at 304.
                                                                     to this District and because the material facts are located in
Therefore, because there is no material connection between
                                                                     and around the GYA, the convenience analysis tips in favor
this District and the transactions underlying this case, I afford
                                                                     of the District of Idaho.
little deference to Plaintiff's choice of forum in the Northern
District of Illinois.
                                                                        C. Interests of Justice
 *4 The convenience of parties and witnesses does not                Lastly, and most significantly, § 1404(a) requires that I
militate strongly in favor of either the Northern District of        consider the interests of justice in this motion to transfer
Illinois or the District of Idaho. The Federal Defendants            venue. The interests of justice is a “somewhat amorphous
reside in the vicinity of Washington, D.C., and to the extent        term” consisting of several variables including: (1) the
that they will also be litigating the Western Watersheds case


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speed of the proceeding; (2) the court's familiarity with
                                                                    Finally, the local significance of the interests of the states
applicable law; (3) the conservation of judicial resources;
                                                                    which are a home to the DPS of grizzly bears cannot be
and (4) the relation of the community to the occurrence
                                                                    ignored. The management of the grizzly bears is of critical
and the desirability of resolving the controversy in its
                                                                    importance to those states because those states will inherit the
locale. Hawksbill Sea Turtle v. FEMA, 939 F.Supp. 1, 4
                                                                    primary management responsibility of the grizzly bears if the
(D.D.C.1996); Heller Financial, Inc. v. Midwhey Powder
                                                                    Final Rule remains in effect. Those states have already spent
Co., Inc., 883 F.2d 1286, 1293 (7th Cir.1989); Willis, at *3
                                                                    a considerable amount of time and resources developing their
(citing IFC Credit Corp. v. Eastcom, Inc., 2005 WL 43159, *2
                                                                    state management plans, and thus this dispute more closely
(N.D.Ill. Jan.7, 2005)); see also 15 Charles A. Wright, Arthur
                                                                    involves the interests of any of those states over those of
R. Miller & E. Cooper, supra, § 3854. “Amorphous though
                                                                    Illinois. Therefore, the controversy over the FWS' rulemaking
it may be, the interest of justice may be decisive in ruling on
                                                                    that labeled the population of grizzly bears in the GYA a DPS
a transfer motion even though the convenience of the parties
                                                                    is more appropriately litigated in a court in Idaho, Wyoming,
and witnesses point in a different direction.” Hawksbill, 939
                                                                    or Montana, where that DPS is found. In Nw. Forest Res.
F.Supp. at 4. The interests of justice includes both the interest
                                                                    Counsel, the Court transferred a challenge under the ESA
of the parties as well as the interests of society in general.
                                                                    of the listing of the marbled murrelet from the District of
Chicago, Rock Island, 220 F.2d at 304 (citing United States
                                                                    Columbia to the Western District of Washington, where much
v. National City Lines, Inc., D.C., 7 F.R.D. 393, 397, 402
                                                                    of that bird's habitat is found. Nw. Forest Res. Counsel, 1994
(S.D.Cal.1947)).
                                                                    WL 908586, at *4. An important consideration with regard to
                                                                    the interests of justice was the fact that “marbled murrelets do
 *5 The most salient considerations under this prong given
                                                                    not inhabit land or water in-or anywhere near-the District of
the circumstances presented here are the conservation of
                                                                    Columbia.” Id. The same reasoning applies here and supports
judicial resources and the relation of the community and
                                                                    a transfer of venue to the District of Idaho.
desirability of resolving the controversy in its locale. 6 §
1404(a) was designed to prevent the “situation in which two
cases involving precisely the same issues are simultaneously           V. Conclusion
pending in different District Courts.” Continental Grain Co.        Venue for this action is proper in both the Northern District
v. FBL-585, 364 U.S. 19, 26, 80 S.Ct. 1470, 4 L.Ed.2d 1540          of Illinois and the District of Idaho. Although Plaintiff
(1960). While the Western Watersheds case currently pending         brought this action in the Northern District of Illinois, in
in the District of Idaho does not present precisely the same        light of all of the circumstances, the interests of justice and
issues raised in this case, both cases essentially involve a        convenience of the parties sufficiently outweighs Plaintiff's
challenge under the ESA and APA to the FWS' Final Rule              right to choose the forum. Transfer of this action to the District
regarding the DPS of grizzly bears in the GYA. See Nw. Forest       of Idaho is appropriate. Accordingly, it is hereby ordered
Res. Council, 1994 WL 908586, at *3 (granting transfer of           that Defendants' motion is granted, pursuant to 28 U.S.C. §
venue where two cases in different districts arose out of the       1404(a). This action shall be transferred to the District of
same rule-making process and calling factual background and         Idaho forthwith.
legal issues “similar and largely intertwined”). Not all of the
claims in both cases are identical, but the amount of overlap
is significant and the chance of conflicting orders is real.        All Citations
Western Watersheds was filed before this case, and several
                                                                    Not Reported in F.Supp.2d, 2007 WL 4365340
parties have already moved to intervene.


Footnotes
1       Federal Defendants point to at least five other parties who have moved to participate in the litigation. The Safari Club
        International moved to intervene as a party defendant on June 12, 2007. U.S. Sportsman's Alliance Foundation moved to
        file an amicus brief in support of Idaho Defendants' position on July 18, 2007. The State of Wyoming moved to intervene
        as a party defendant on August 2, 2007. According to the Federal Defendants, the State of Montana will also be filing
        a motion to intervene on its behalf, if it hasn't already done so. Additionally, the National Wildlife Federation moved to
        intervene on September 27, 2007, and that motion was denied by the Idaho court on October 31, 2007.




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2     Federal Defendants also make two additional arguments in the venue portion of their reply motion: (1) Plaintiff's twelfth
      claim for relief seeks to invalidate the Final Rule, which in turn would require actions taken by the State of Idaho to enact
      new laws to protect the bears from hunting, and (2) courts recognize the importance of transferring ESA cases to a district
      in which the species is located. These arguments are viable, but they are more properly considered in the “interests of
      justice” prong of the venue analysis. I will consider them accordingly.
3     The open house in Idaho was held in Idaho Falls on January 12, 2006. Other open houses were held in Bozeman, Montana
      and Jackson, Wyoming. An open house and a public hearing was held in Jackson, Wyoming. 70 Fed.Reg. at 69854.
4     I do not address whether or not Washington, D.C. is a proper venue for this case because neither party has requested
      me to do so.
5     Both parties spend some time addressing the issue of convenience with respect to Defendants' attorneys. However,
      “the convenience of an attorney is not a factor in considering a motion to transfer venue,” and thus I will not consider it.
      Flexicorps, Inc. v. Benjamin & Williams Debt Collectors, Inc., No., 2007 WL 1560212, at *5 n. 3 (N.D.Ill. May 29, 2007)
      (internal quotation omitted).
6     The speed of disposition and the court's familiarity with the applicable law are negligible factors in this case.


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                                                                               Illinois, Eastern Division, and was assigned to the Honorable
                                                                               Matthew F. Kennelly. See Allman v. WorldCom. Inc., docket
      KeyCite Yellow Flag - Negative Treatment                                 number 01 C 9741. In that case, WorldCom filed a motion
Distinguished by Barker v. Atlantic Pacific Lines, N.D.Ill., August 14, 2013
                                                                               to dismiss and compel arbitration. WorldCom's motion to
                    2003 WL 1811531
                                                                               dismiss and compel arbitration was rendered moot as a result
     Only the Westlaw citation is currently available.
                                                                               of Allman's motion to voluntarily dismiss the case pursuant
              United States District Court,
                                                                               to Federal Rule of Civil Procedure 41(a). Thereafter, Allman
             N.D. Illinois, Eastern Division.
                                                                               proceeded to arbitrate his claim; however, as a result of
                                                                               WorldCom's petition for bankruptcy pursuant to Chapter 11
                   James ALLMAN, Plaintiff,
                                                                               of the Bankruptcy Code, the arbitration proceedings were
                             v.
                                                                               stayed. Impatient with the progress of his arbitration as a
           Kevin D. MCGANN, Michael Cipicchio,
                                                                               result of the bankruptcy stay, Allman filed the present case
             and Scott D. Sullivan, Defendants.                                against various individual officers of WorldCom, including
                                                                               Kevin D. McGann, Michael Cipicchio, and Scott D. Sullivan
                             No. 02 C 7442.
                                    |                                          (collectively “the Defendants”). 2
                             April 4, 2003.
                                                                               This court initially dismissed the present case for failure to
                                                                               properly plead subject matter jurisdiction. Thereafter, Allman
                      OPINION AND ORDER                                        filed an amended complaint, properly pleading subject matter
                                                                               jurisdiction pursuant to 28 U.S.C. § 1332(a)(1). In Count I of
NORGLE, J.                                                                     the amended complaint, Allman contends that the Defendants'
                                                                               failure to pay his final commission resulted in a violation of
 *1 Before the court is Defendant, Michael Cipicchio's                         the Illinois Wage Payment and Collection Act, 820 Ill. Comp.
(“Cipicchio”) motion to dismiss Plaintiff, James Allman's                      Stat. 115/1 et seq. (“IWPCA”). Count II of the amended
(“Allman”) complaint for lack of personal jurisdiction                         complaint seeks attorney fees under the IWPCA. Lastly, in
brought pursuant to Federal Rule of Civil Procedure 12(b)(2).                  Count III of the amended complaint, Allman contends that
For the following reasons, Cipicchio's motion is granted.                      the Defendants tortiously interfered with his employment
                                                                               contract rights.

                                                                               Returning to the facts underlying Allman's claims for
                        I. BACKGROUND 1
                                                                               relief, in regard to commissions, WorldCom maintained
Allman is seeking to recover commissions allegedly owed                        a commissions bank account for Allman in WorldCom's
for work performed as an employee of a subsidiary of MCI                       Commissions Accounting department. WorldCom regularly
WorldCom Network Services, Inc. (“WorldCom”). Allman, a                        provided Allman with commissions reports detailing the
citizen of the State of Illinois, began working for a subsidiary               amounts held in Allman's commissions account. Under the
of WorldCom in March of 1991. Allman was employed as                           Comp Plan, Allman would receive a maximum of $25,000 per
a major account executive and was compensated for his                          month from commissions, with any amount of commission
services by was of salary, commissions and bonuses, as                         in excess of $25,000 to be held in Allman's commissions
set forth in MCI's Major Account Executive Compensation                        bank account. In the event that Allman's commissions for a
Plan (“the Comp Plan”). Allman resigned his employment                         given month were less than $25,000, funds would be taken
with WorldCom effective November 2, 2001. Allman alleges                       out of Allman's commissions account and applied to assure a
that at the time of his resignation, his commissions report                    monthly commission of $25,000. Furthermore, in the event of
indicated that he was owed $700,339.49, in addition to                         termination, Allman would continue to receive a maximum of
unreported commissions for October and November of 2001,                       $25,000 per month from commissions until his commissions
an amount which WorldCom has not paid.                                         account was exhausted.


Initially, in order to seek redress for his grievance, Allman                  *2 Cipicchio, a citizen of the State of Mississippi,
filed suit against WorldCom. This case was filed in the                        was, and is, employed by MCI as Vice President of
United States District Court for the Northern District of                      Corporate Processing Services. Cipicchio performs his



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duties on behalf of WorldCom from an office located in               have personal jurisdiction over a nonresident defendant only
Mississippi. In that position Cipicchio has responsibility           where: 1) Illinois statutory law properly grants jurisdiction;
for administering WorldCom's compensation plans and                  2) the exercise of personal jurisdiction would not violate
commission accounting. Prior to Allman's resignation,                Illinois constitutional law due process requirements; and 3)
Cipicchio caused an audit to be performed on the accounts            the exercise of personal jurisdiction would not violate the
of approximately 50 major account executives, including              United States constitutional law due process requirements.
Allman. Allman alleges that the Defendants directed                  See Central States, Southeast and Southwest Areas Pension
WorldCom to “intentionally and purposefully” freeze many             Fund v. Reimer Express World Corp., 230 F.3d 934, 946 (7th
of the commission bank accounts that had been the                    Cir.2000).
subject of the internal audit, including Allman's account.
Allman contends that the Defendants knew of WorldCom's                *3 In this case, the three inquiries may be collapsed into
obligation to pay Allman under the Comp Plan and that the            one, with an analysis of whether the exercise of personal
Defendants purposefully prevented the payment of Allman's            jurisdiction would violate the United States constitutional
final compensation, resulting in a violation of the IWPCA            law due process requirements as the pivotal inquiry. See
and tortious interference with Allman's employment contract          Klump, 71 F.3d at 1371 (indicating “if the contacts between
rights.                                                              the defendant and Illinois are sufficient to satisfy the
                                                                     requirements of due process, then the requirements of both the
Cipicchio has responded to Allman's amended complaint by             Illinois long-arm statute and the United States Constitution
filing a motion to dismiss for lack of personal jurisdiction,        have been met, and no other inquiry is necessary”); see
which the court now addresses.                                       also Rollins v. Ellwood, 565 N.E.2d 1302, 1315 (Ill.1990)
                                                                     (indicating “Illinois' long-arm statute ... may well restrict the
                                                                     power that the courts of this State have to bring nonresidents
                                                                     before them to a greater extent than do the Federal due process
               II. STANDARD OF DECISION
                                                                     clause and the ‘minimum contacts' standard developed over
Once a defendant has challenged a court's exercise of personal       the years by the [United States] Supreme Court”); see also
jurisdiction, through a motion to dismiss for lack of personal       RAR, 107 F.2d at 1276 (indicating that “Illinois courts have
jurisdiction, the plaintiff has the burden of demonstrating that     given little guidance as to how state due process protection
the court's exercise of personal jurisdiction over a defendant       differs from federal protection in the context of personal
is proper. See RAR. Inc. v. Turner Diesel, Ltd., 107 F.3d 1272,      jurisdiction”).
1276 (7th Cir.1995). “In deciding a motion to dismiss for lack
of personal jurisdiction, the court may receive and consider         As elucidated by International Shoe Co. v. Washington, 326
affidavits from both parties.” Glass v. Kemper Corp., 930            U.S. 310 (1945) and its progeny, to satisfy the requirements
F.Supp. 332, 337 (N.D.Ill.1996) (citing Turnock v. Cope, 816         of federal due process, a non-resident defendant must have
F.2d 332, 333 (7th Cir.1987)). “The court resolves factual           established sufficient “minimum contacts” with the forum
disputes in the pleadings and affidavits in favor of the             state such that the exercise of jurisdiction does not offend
plaintiff, but takes as true facts contained in the defendant's      traditional notions of fair play and substantial justice. See
affidavit that remain unrefuted by the plaintiff.” Id. (citing       generally RAR, 107 F.2d at 1277. To establish that such
Nelson v. Park Industries, Inc., 717 F.2d 1120, 1123 (7th            “minimum contacts” have been established, “[i]t is essential
Cir.1983)).                                                          in each case that there be some act by which the defendant
                                                                     purposefully avails itself of the privilege of conducting
                                                                     activities within the forum State, thus invoking the benefits
                                                                     and protections of its laws.” Hanson v. Denckla, 357 U .S.
                      III. DISCUSSION
                                                                     235, 253 (1958). In determining whether sufficient “minimum
“A federal district court exercising diversity jurisdiction          contacts” exist, courts consider whether a defendant could
has personal jurisdiction, of course, ‘only if a court of            “reasonably anticipate being haled into court” in Illinois. See
the state in which it sits would have such jurisdiction.” ’          World–Wide Volkswagen Corp. v. Woodsen, 444 U.S. 286,
RAR. Inc. v. Turner Diesel, Ltd., 107 F.3d 1272, 1275 (7th           297 (1980). This requirement is satisfied when the defendant
Cir.1997) (citing Klump v. Duffus, 71 F.3d 1368, 1371 (7th           intentionally directs his activities at forum state residents and
Cir.1995). This federal district court, sitting in diversity, will   the litigation arises from injuries allegedly caused by those



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activities. See Burger King Corp. v. Rudzewicz, 471 U.S. 462,
474 (1985).                                                      In Krok v. Burns & Wilcox. Ltd., No. 98 C 5902, 1999 WL
                                                                 262125 *1 (N.D. Ill. April 16, 1999) an Illinois employee
                                                                 filed suit against his former employer and four officers and
A. Allman's IWPCA Claim for Relief                               directors of that corporation, all non-residents of Illinois,
One of Allman's arguments for subjecting Cipicchio to            alleging violations of the IWPCA, tortious interference
the personal jurisdiction of a court in Illinois is premised     with contract, and unjust enrichment. The four non-resident
on the Illinois Wage Payment and Collection Act, which           officers and directors of the corporation included: H.
provides, inter alia: “Any officers of a corporation or agents   Kaufman, former owner of the corporation; A. Kaufman,
of an employer who knowingly permit such employer to             Executive Vice President, Director, and current owner of the
violate the provisions of this Act shall be deemed to be         corporation; Price, Senior Vice President of the corporation;
the employers of the employees of the corporation.” 820          and Horton, Executive Vice President and Director of the
Ill. Comp. Stat. 115/13 (2003). Allman argues that because       corporation. Id. The four non-resident officers and directors
Cipicchio knowingly permitted WorldCom to withhold               of the corporation filed motions to dismiss for lack of personal
Allman's final compensation, Cipicchio is deemed to be           jurisdiction. Id. at *2. Two of the defendants, H. Kaufman
Allman's employer under the IWPCA, and therefore subject         and A. Kaufman, had only visited Illinois a few times a
to personal jurisdiction in Illinois because WorldCom would      year to transact unrelated business, and the court dismissed
be subject to personal jurisdiction in Illinois. However, the    them from the complaint. Id. at *3. The two remaining
court cannot accept Allman's personal jurisdiction syllogism     defendants, Price and Horton, visited Illinois for the purpose
in light of existing federal due process jurisprudence.          of meeting with the plaintiff, and subsequently terminated his
                                                                 employment at that meeting. Id. at *4. The court indicated that
 *4 The present case is virtually indistinguishable from other   by traveling to Illinois to terminate the plaintiff's employment,
cases decided in this district dealing with the IWPCA and the    Price and Horton performed an act which caused an injury in
issue of personal jurisdiction over non-resident officers and    Illinois, thus subjecting them to the personal jurisdiction of
directors of corporations. In McMurray v. Improvenet, Inc.,      the court to answer the plaintiff's claim of tortious interference
No. 00 C 7137, 2001 WL 561376 *1 (N.D.Ill. May 22, 2001)         with contract. Id. As to the plaintiff's claim of violations of
an Illinois employee filed suit against his former employer      IWPCA, the court indicated: “[The IWPCA count] arises out
and the president of that corporation, both non-residents        of a wage payment dispute, not a wrongful termination action.
of Illinois, alleging violations of the IWPCA and tortious       Thus, under 5/2–209(a)(1), this court should not exercise
interference with contract. The president of the corporation     personal jurisdiction if [the IWPCA count] were standing
filed a motion to dismiss for lack of personal jurisdiction,     alone.” Id. However, the court subjected Price and Horton
which the court granted. Id. at *2. The president of the         to personal jurisdiction in Illinois on the rationale that since
corporation had visited Illinois approximately four times on     they were subject to personal jurisdiction as to the tortious
behalf of the corporation, once meeting with the plaintiff.      interference with contract claim, their “burden does not
Id. at *3. In addition, the president of the corporation had     substantially increase by this court asserting jurisdiction over
communicated with the plaintiff via telephone on numerous        them as to [the IWPCA count].” Id. The court also rejected
occasions. Id. The court stated that the single meeting with     the arguments of Price and Horton that the fiduciary shield
the plaintiff was “too tenuous to justify asserting personal     doctrine should prevent the court from exercising personal
jurisdiction over [the president of the corporation].” Id. In    jurisdiction over them, based on the finding that Price and
addition, the numerous telephone contacts would not support      Horton were acting to serve their personal interests. Id.
the exercise of personal jurisdiction because the substance of
those communications revealed nothing about the plaintiff's       *5 In the present case, as compared with McMurray and
specific claims for relief. Id. In sum, the court indicated:     Krok, there are even fewer contacts between Cipicchio,
“We cannot say that, through these limited contacts, [the        Allman and Illinois. It is undisputed that Cipicchio has never
president of the corporation] could reasonably anticipate        lived in Illinois, never owned property in Illinois, never paid
being required to defend himself here.” Id. Additionally, the    taxes in Illinois, and never been involved in any litigation
court indicated that assuming that minimum contacts could be     in Illinois. Cipicchio's only contacts with Illinois occurred
established, “we would lack jurisdiction over [the president     in June of 2000 when he attended a conference in Illinois,
of the corporation] because he is protected by the ‘fiduciary    and Cipicchio did not have any contact with Allman at
shield’ doctrine.” Id.


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that time. In fact, Cipicchio has never had any contact with        N.E.2d 1360, 1364 (Ill.1986) (indicating “an economic loss
Allman, whether by way of telephone, mail, or electronic            which is felt in Illinois is not sufficient to confer jurisdiction
communication. The actions of Cipicchio cannot be said to           in our courts when the acts occurred outside of Illinois”); see
indicate that he “purposefully availed” himself to Illinois.        also Green v. Advance Ross Electronics Corp., 408 N.E.2d
Viewed along a “minimum contacts” spectrum, the contact             1007, 1010 (Ill.App.1980) (“While there may ultimately have
between Cipicchio and Illinois is virtually non-existent and        been an indirect economic impact in Illinois, we do not
completely unrelated to Allman's claims for relief. This court      believe that this type of tortious consequence, without more,
cannot say that Cipicchio could have reasonably anticipated         constitutes sufficient contact with this state.”).
being haled into court in Illinois, as a result of performing his
duties for WorldCom outside of Illinois.                             *6 Furthermore, whether Illinois statutory law properly
                                                                    grants jurisdiction is only one part of the inquiry, which at
In short, Allman's syllogism based on the text of the IWPCA         bottom must meet the requirements of federal due process.
proves too much, and ignores the lessons of International           As indicated above, the actions of Cipicchio cannot be
Shoe and its progeny. Therefore, the court finds that Allman        said to indicate that he “purposefully availed” himself to
has failed to meet his burden of demonstrating that the court's     Illinois. When viewed along a “minimum contacts” spectrum,
exercise of personal jurisdiction over Cipicchio is proper as       the contact between Cipicchio and Illinois is virtually non-
to Counts I and II of the amended complaint.                        existent and completely unrelated to Allman's claims for
                                                                    relief. This court cannot say that Cipicchio could have
                                                                    reasonably anticipated being haled into court in Illinois as
B. Allman's Tortious Interference with Contract Claim for           a result of performing his duties for WorldCom outside of
Relief                                                              Illinois.
Allman's alternative argument for subjecting Cipicchio to the
personal jurisdiction of a court in Illinois is premised on the     Therefore, the court finds that Allman has failed to meet his
contention that Cipicchio's conduct qualifies as a tortious act,    burden of demonstrating that the court's exercise of personal
thereby subjecting Cipicchio to Illinois' long-arm statute, 735     jurisdiction over Cipicchio is proper as to Count III of the
Ill. Comp. Stat. 5/2–209(a)(2) (2003).                              amended complaint.

As indicated above, since the three inquiries may be collapsed
into one, with an analysis of whether the exercise of personal      C. Fiduciary Shield Doctrine
jurisdiction would violate the United States constitutional law     Even accepting Allman's syllogism and alternative argument,
due process requirements as the pivotal inquiry, the court will     and assuming arguendo, that Allman's claims for relief were
analyze whether the contacts of Cipicchio with Illinois satisfy     sufficiently related to Cipicchio's contacts with Illinois, this
the requirements of federal due process. See Klump, 71 F.3d         court would decline to exercise personal jurisdiction over
at 1371.                                                            Cipicchio based on the fiduciary shield doctrine.

At bottom, Allman's alternative argument for personal               “The fiduciary shield doctrine is a judicially created principle
jurisdiction reduces itself to an argument that personal            that precludes the exercise of personal jurisdiction over non-
jurisdiction is proper because Allman was injured in Illinois       resident corporate agents or employees who are acting in the
as a result of a decision made outside of Illinois that involved    forum state in their role as corporate agents or employees.”
Cipicchio. To support this argument, Allman relies on the           Sonja Larsen, Validity, Construction, and Application of
well-known case of Gray v. American Radiator and Standard           “Fiduciary Shield” Doctrine–Modern Cases, 79 A.L.R.5th
Sanitary Corp., for the proposition that “the place of a wrong      587 (2000). The fiduciary shield doctrine is premised on
is where the last event takes place which is necessary to           the rationale that it is unfair to force non-resident corporate
render the actor liable.” 176 N.E.2d 761, 763 (Ill.1961).           agents or employees to defend suits brought in a forum
However, this argument misses later development in personal         where their only relevant contacts are acts performed not for
jurisdiction in the Illinois courts. The Illinois Supreme Court     personal benefit but for the benefit of their employer. Id.
has explicitly rejected the contention that the Illinois long-arm   The Illinois Supreme Court recognized the fiduciary shield
statute applies to non-resident defendants whose only contact       doctrine in Rollins v. Ellwood, 565 N.E.2d 1302, 1317–18
with Illinois is allegedly causing economic harm within the         (Ill.1990). In explaining the fiduciary shield doctrine, and its
state. See R.W. Sawant & Co. v. Allied Programs Corp., 489          legal underpinnings, the Illinois Supreme Court indicated:


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                                                                    “The adverbs ‘willfully’ and ‘maliciously’ are too general
                                                                    to describe a personal interest.” 2001 WL 561376 at *4.
            Thus, we find it to be unfair                           Further, as a vice president in a national corporation, it cannot
            and unreasonable, under Illinois' due                   be argued that Cipicchio is the alter ego of WorldCom. In
            process clause and the tenets of our                    addition, Allman does not allege that Cipicchio had discretion
            concept of the jurisdictional power of                  whether the contacts occurred. In fact, Cipicchio had no
            the Illinois courts, to assert personal                 relevant contacts with Illinois. Also, Cipicchio's actions were
            jurisdiction over an individual who                     authorized by the Comp Plan, which Allman entered into
            seeks the protection and benefits of                    with WorldCom, and cannot be said to be anything other than
            Illinois law, not to serve his personal                 Cipicchio performing his duties as an employee of WorldCom
            interests, but to serve those of his                    in Mississippi.
            employer or principal.
                                                                    Furthermore, judicial acceptance of Allman's personal
                                                                    jurisdiction arguments would result in a myriad of officers and
Id. at 1318. As interpreted by the federal courts in                directors of corporations being forced to defend themselves
the Northern District of Illinois, “[t]here are three basic         in litigation from Seattle to Key West, and every point
limitations on the fiduciary shield doctrine: where the             in between where their corporations transact business,
defendant was motivated in part or solely by personal interest,     irrespective of their individual contacts with each forum state.
as opposed to the interests of the corporation; where ‘the          Despite the technological advances made that enable the
defendant is the alter ego of the entity for which he is a          business world to span many borders, such a result would
fiduciary;’ and, possibly, where the defendant was a director       not be consistent with current conceptions of due process
or officer who had discretion regarding whether the contacts        guaranteed by the Fourteenth Amendment.
occurred.” Robinson v. Sabis Education Systems, Inc., No. 98
C 4251, 1999 WL 412642 (N.D.Ill. May 28, 1999) (citations
omitted).
                                                                                          IV. CONCLUSION

 *7 Allman has proffered nothing to refute Cipicchio's              For the foregoing reasons, Defendant, Michael Cipicchio's
affidavit, which indicated that Cipicchio did not benefit           motion to dismiss Plaintiff, James Allman's complaint for lack
or serve his personal interests by causing an audit to be           of personal jurisdiction brought pursuant to Federal Rule of
performed on Allman's commissions account and freezing              Civil Procedure 12(b)(2) is granted.
Allman's commission bank account. Allman's allegations
against Cipicchio, and the Defendants generally, are devoid
of specific facts. Allman simply indicated that Cipicchio           IT IS SO ORDERED.
“knowingly” violated the IWPCA, and “purposefully” and
                                                                    All Citations
“maliciously” interfered with Allman's employment contract
rights. As was aptly stated by the district court in McMurray:      Not Reported in F.Supp.2d, 2003 WL 1811531


Footnotes
1      The court takes the facts from Allman's amended complaint and the parties' briefs and supporting affidavits on the present
       motion to dismiss for lack of personal jurisdiction. Disputed facts are noted in the text.
2      At a status hearing on April 1, 2003, counsel for Allman advised the court that Defendant, Scott D. Sullivan was served
       with a summons and a complaint on March 17, 2003. Counsel for Allman also advised the court that Defendant, Kevin
       D. McGann had not been served.
         The court is deciding the matter before it, as to Defendant, Michael Cipicchio, solely on jurisdictional grounds. As such,
         the court is not addressing the appropriateness of the complaint in light of the bankruptcy court's stay of Allman's
         arbitration proceedings or in light of Local Rule 40.4, dealing with reassignment of related cases. In light of this opinion,
         Allman should be diligent in pursuing this matter as to the remaining Defendants. See Fed.R.Civ.P. 11; see also Berwick
         Grain Co., Inc. v. Illinois Dept. of Agriculture, 217 F.3d 502, 504 (7th Cir.2000) (per curiam ) (discussing Rule 11 and
         collecting cases).



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                                                                without giving the notices and obtaining the consents
                                                                required by the statute. Bray filed a proposed class action
                  2020 WL 1492742
                                                                complaint in the Circuit Court for the Fourth Judicial Circuit,
    Only the Westlaw citation is currently available.
                                                                Montgomery County, Illinois, seeking to pursue those claims
      United States District Court, C.D. Illinois,
                                                                for himself and on behalf of any individual working in
                Springfield Division.
                                                                Illinois who supposedly had their facial geometries collected,
         Bret BRAY, individually and on behalf                  captured, received, obtained, maintained, stored or disclosed
        of all others similarly situated, Plaintiff,            by Lathem, regardless of where they worked.
                             v.
                                                                On June 18, 2019, Lathem removed the action to this Court.
            LATHEM TIME CO., Defendant.

                     Case No. 19-3157                           Bray alleges Lathem designs and sells biometric timekeeping
                             |                                  systems to employers throughout Illinois to track time worked
                    Signed 03/26/2020                           by hourly employees. Because employees clocking in or
                             |                                  out must use biometrics—like their facial geometry—this
                     Filed 03/27/2020                           technology eliminates the possibility of “buddy punching”
                                                                that could occur if a traditional punch card were used. It is not
Attorneys and Law Firms                                         possible to “borrow” facial geometry to clock in for a friend.

Ryan F. Stephan, Haley R. Jenkins, Stephan Zouras LLP,          BIPA requires collectors of biometric data to inform the
Chicago, IL, Brandon Michael Wise, Peiffer Wolf Carr &          subject in writing that biometric data is being collected or
Kane APLC, St. Louis, MO, for Plaintiff.
                                                                stored and receive that person’s written consent. See 740 ILCS
Jacob Daniel Radecki, Christopher Graham Dean, McDonald         14/15(b). If the collector discloses the data, it must generally
Hopkins LLC, Chicago, IL, for Defendant.                        —absent some exceptions not present here—receive consent
                                                                for that as well. See 740 ILCS 14/15(d). Additionally, any
                                                                entity in possession of biometric data must create a publicly
                                                                accessible policy regarding the retention and destruction of
                         OPINION
                                                                such data. See 740 ILCS 14/15(a).
RICHARD MILLS, United States District Judge:
                                                                Bray contends Lathem violated each of those provisions. As
 *1 This is an action for alleged violations of the Illinois    an employee from whom Lathem collected facial geometry
Biometric Information Privacy Act, 740 ILCS 14/1 et seq.        while ignoring his rights under BIPA, therefore, Bray brings
(“BIPA”).                                                       this suit to enforce the statute on his own behalf and on behalf
                                                                of a class of Illinois citizens whose rights Lathem is alleged
Defendant moves to dismiss for failure to state a claim and     to have violated in this way.
to join necessary parties and to dismiss for lack of personal
jurisdiction.                                                   Lathem claims BIPA was not designed to apply to third-party
                                                                technology vendors like itself. Although BIPA may give Bray
                                                                a cause of action against his employer, Hixson—which he
                                                                is pursuing in a separate action in state court—it does not
                    I. BACKGROUND
                                                                give him a claim against Lathem. Lathem contends he is
Defendant Lathem Time Corp. (“Lathem”) designs and              attempting to assert a claim that does not exist. Bray alleges
sells biometric-based timekeeping systems to employers to       that Lathem collected his data and held it without obtaining
track time worked by hourly employees. Plaintiff Bret Bray      his consent. Moreover, Lathem did not establish a retention
alleges that his former employer, Hixson Lumber Sales of        policy. Bray further contends that BIPA applies to all “private
Illinois, Inc. (“Hixson”), required him to use Lathem facial-   entities” which would include Lathem. Thus, Bray asserts he
recognition technology on a timekeeping device (a “Lathem       has alleged a viable claim.
Device”) and that Lathem violated BIPA by collecting,
storing, using, and/or disclosing his biometric information



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 *2 Lathem further alleges that, even if Bray could state a         maintenance of the suit does not offend traditional notions
claim, the claim should still be dismissed for failure to join      of fair play and substantial justice.” International Shoe Co.
numerous necessary parties: the employers of the putative           v. Washington, 326 U.S. 310, 316 (1945) (internal quotation
class members. Bray contends this portion of the motion is          marks omitted). A defendant must purposefully avail itself of
premature, as there is not sufficient information to determine      the privilege of conducting activities within a state, thereby
the necessity of any additional parties under Federal Rule of       invoking the protection of its laws. See Burger King Co. v.
Civil Procedure 19.                                                 Rudzewicz, 471 U.S. 462, 474-75 (1985). The contacts must
                                                                    create a “substantial connection” with the state and not be the
Lathem further asserts it is a Georgia-based seller of              result of “random,” “fortuitous” or “attenuated” contacts. Id.
workplace timekeeping devices and software services with            at 475.
de minimis connections to Illinois. Because of these limited
contacts with Illinois and because its suit-related contact is      The plaintiff cannot be the sole link between a defendant and
a result of the actions of third parties like Hixson, Lathem        the forum. See Walden v. Fiore, 571 U.S. 277, 285 (2014).
claims the action should be dismissed for lack of personal          While “a defendant’s contacts with the forum State may
jurisdiction. Bray contends Lathem’s business relationships         be intertwined with his transactions or interactions with the
with Illinois citizens, from which his injuries arose, subject it   plaintiff or other parties,” its “relationship with a plaintiff
to jurisdiction in Illinois.                                        or third party, standing alone, is an insufficient basis for
                                                                    jurisdiction.” Id. at 286.


                       II. DISCUSSION
                                                                                                  (B)
The Court will first consider Lathem’s motion to dismiss for
lack of personal jurisdiction because if there is no in personam    The issue is whether Illinois has specific jurisdiction over
jurisdiction, the Court cannot address the other motion. See        Lathem. In order for there to be specific jurisdiction, “the
be2 LLC v. Ivanov, 642 F.3d 555, 557 (7th Cir. 2011) (noting        defendant’s contacts with the forum state must show that
that the entry of a judgment when the court lacks personal          it purposefully availed itself of the privilege of conducting
jurisdiction over the defendant is void).                           business in the forum state or purposefully directed its
                                                                    activities at the state.” Lexington Insurance Company v.
                                                                    Hotai Insurance Co., Ltd., 938 F.3d 874, 878 (7th Cir. 2019)
                                                                    (internal quotation marks omitted). Next, “the plaintiff’s
                              (A)
                                                                    alleged injury must have arisen out of the defendant’s forum-
In considering a motion to dismiss under Rule 12(b)(2), the         related activities.” Id. Additionally, “any exercise of personal
Court accepts the Plaintiff’s allegations concerning personal       jurisdiction must comport with traditional notions of fair play
jurisdiction unless the allegations are refuted through             and substantial justice.” Id.
undisputed affidavits. See Swanson v. City of Hammond, 411
F. App’x 913, 915 (7th Cir. 2011).                                   *3 The Seventh Circuit has cautioned that courts “should
                                                                    be careful in resolving questions about personal jurisdiction
Federal courts sitting in diversity may exercise personal           involving online contacts to ensure that a defendant is not
jurisdiction over a nonresident defendant only if the forum-        haled into court simply because the defendant owns or
state court would have such jurisdiction. See Hyatt Int’l           operates [an interactive] website that is accessible in the
Corp. v. Coco, 302 F.3d 707, 713 (7th Cir. 2012). “Because          forum state.” Matlin v. Spin Master Corp., 921 F.3d 701, 706
Illinois permits personal jurisdiction if it would be authorized    (7th Cir. 2019) (citations omitted). The minimum-contacts
by either the Illinois Constitution or the United States            analysis “center on the relations among the defendant, the
Constitution, the state statutory and federal constitutional        forum, and the litigation.” Id. In order for there to be personal
requirements merge.” uBid, Inc. v. GoDaddy Group, Inc.,             jurisdiction, the defendants must have targeted the forum
623 F.3d 421, 425 (7th Cir. 2010). Under the Constitution,          state. See id. Lathem’s “suit related conduct must create a
the inquiry is whether it is “fair and reasonable” to require       substantial connection with the forum State” in order for there
the nonresident defendant to answer the plaintiff’s claim; the      to be personal jurisdiction. See Walden, 571 U.S. at 284.
entity must have contacts or ties with the state “such that


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In support of its motion to dismiss for lack of personal           on the actions of another entity—cannot support specific
jurisdiction, Lathem has submitted the Declaration of Lance        jurisdiction. See Burger King, 471 U.S. at 475.
Whipple, its Vice President, Sales & Marketing. When a
defendant submits evidence disputing a court’s exercise of         Bray claims that Lathem could reasonably foresee that its
personal jurisdiction, the plaintiff must provide evidence         products and services would be purchased and used in Illinois.
supporting the court’s exercise of jurisdiction. See Matlin, 921   Citing Illinois v. Hemi Group LLC, 622 F.3d 754 (7th Cir.
F.3d at 705.                                                       2010), Bray contends that Lathem’s business appears to
                                                                   include an expansive and sophisticated online venture and,
Lathem contends it does not have sufficient contacts with          when an entity holds itself out to conduct business nationwide
Illinois to justify the exercise of specific jurisdiction.         and is successful in reaching nationwide customers, personal
Moreover, Lathem alleges its sales and interactive website are     jurisdiction exists. See id. at 760. In Hemi Group, the Seventh
irrelevant to the jurisdictional analysis.                         Circuit found significant that the online seller expressly stated
                                                                   that it would do business with 49 states by saying it would ship
According to Mr. Whipple’s Declaration, Lathem has no              to any state in the country except New York. See id. at 758
offices or facilities in Illinois. It is not registered to do      (“Although listing all forty-nine states by name would have
business in Illinois and has no Illinois employees. Lathem has     made a stronger case for jurisdiction in this case, inasmuch
no real estate, accounts, other personal property or physical      as it would have expressly stated that Hemi wanted to do
presence of any kind in Illinois. Lathem does not interact with    business with Illinois residents, the net result is the same.”).
its customers’ employees, such as Bray or any putative class       Mr. Whipple states that Lathem imposes no such limitation
members. Its relationship is solely with the employers.            on its sales. Additionally, the issue in Hemi Group concerned
                                                                   the defendant’s failure to pay sales tax, see 622 F.3d at 756, so
Lathem alleges it does not target Illinois customers or their      the sale itself was a suit-related contact. This lawsuit concerns
employees in any way. Mr. Whipple states Lathem does               Lathem’s alleged collection, storage use and disclosure of
not advertise in Illinois, send sales or other representatives     biometrics--not Lathem’s sales.
here, maintain any sales or marketing programs for Illinois
customers, or geographically restrict the sales of its products     *4 Bray cites uBID, Inc. v. GoDaddy Group, Inc., 623 F.3d
and services. Lathem’s suit-related “contact” is limited to        421 (7th Cir. 2010) for the proposition that the Seventh Circuit
offering an optional web-service, PayClock Online, that is         found that personal jurisdiction existed based on Internet-
available to customers in Illinois. “If the defendant merely       based activities. The defendant in that case had aired many
operates a website, even a “highly interactive” website, that      national commercials, including six straight years of Super
is accessible from, but does not target, the forum state, then     Bowl ads. See id. at 427. Its advertising activities included
the defendant may not be haled into court in that state without    celebrity and sports sponsorships which successfully reached
offending the Constitution.” be2 LLC, 642 F.3d at 559.             Illinois customers. See id. Lathem has not targeted Illinois in
                                                                   a remotely similar manner. Accordingly, uBid is inapposite.
Lathem notes it did not itself create any contact with Illinois.
It is the result of decisions by employers to (1) use Lathem       Bray also relies on Mobile Anesthesiologists Chicago, LLC v.
Devices in the state, (2) enable the facial-recognition feature,   Anesthesia Associates of Houston Metroplex, P.A., 623 F.3d
and (3) enroll in PayClock Online. The absence of any one          440 (7th Cir. 2010), wherein the Seventh Circuit states that
of these decisions by the employers would break the chain          “[a] defendant’s deliberate and continuous exploitation of the
of events that led to suit-related contact with Illinois. As       market in a forum state, accomplished through its website as
Mr. Whipple states, Lathem did not even sell the Lathem            well as through other contacts with the state, can be sufficient
Device to Bray’s employer, Hixson Illinois; instead it sold and    to establish specific personal jurisdiction.” Id. at 446. In this
shipped them to Hixson Lumber Sales in Arkansas. Whipple           case, however, there are no contacts with the state other than
notes that customers can move and use the devices as they          the website and that alone is not enough. See id. (“A plaintiff
see fit, including across state lines. Accordingly, Lathem had     cannot satisfy the Calder standard simply by showing that
nothing to do with how the devices got to Illinois. As Lathem      the defendant maintained a website accessible to residents of
alleges, its contact with Bray is purely happenstance and          the forum state and alleging that the defendant caused harm
the result of the actions of third parties. Such “random,”         through that website.”).
“fortuitous” or “attenuated” contacts—which is based solely



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                                                                      purposely directly sales into the state through advertising
Bray also relies on Norberg v. Shutterfly, Inc., 152 F. Supp.3d
                                                                      and marketing or the use of sales or service representatives;
1103 (N.D. Ill. 2015), wherein the plaintiff also asserts a
                                                                      and did not even sell a Lathem Device to Bray’s employer
violation of BIPA. Judge Norgle noted that defendants in
                                                                      in Illinois. Because Bray has not refuted Mr. Whipple’s
Norberg operated multiple websites that provided digital
                                                                      statements, the Court accepts those statements as true. See
photo storage, sharing, and photo prints and novelty gifts,
                                                                      GCIU-Employer Retirement Fund v. Goldfarb Corp., 565
such as photo mugs and mousepads, which was available
                                                                      F.3d 1018, 1020 n.1 (7th Cir. 2009) (“[W]e accept as true
in all 50 states and internationally. See id. at 1105. The
                                                                      any facts contained in the defendant’s affidavits that remain
photo sharing and printing services were offered directly
                                                                      unrefuted by the plaintiff.”).
to Illinois citizens, while hard copy photographs and other
products were shipped directly to their customers. See id. The
                                                                      Based on the random and attenuated nature of Lathem’s
alleged statutory violation stemmed out of the defendants’
                                                                      contacts with Illinois—and the lack of any suit-related
contact with Illinois residents. See id. Accordingly, the
                                                                      contact--the Court concludes that personal jurisdiction over
court denied the defendants’ motion to dismiss for lack of
                                                                      Lathem would not comport with traditional notions of fair
personal jurisdiction. See id. This case is distinguishable
                                                                      play and substantial justice. Accordingly, Lathem does not
because Lathem’s only “contact” with Illinois occurs when its
                                                                      have sufficient contacts with Illinois to warrant the exercise
customers—employers, not end users—reach out to purchase
                                                                      of specific jurisdiction.
its products and services. Bray’s and the putative class
members’ injury stems not from that contact but from the
                                                                       *5 Ergo, the motion of Defendant Lathem Time Corp
employers’ subsequent use of Lathem Devices, which take
                                                                      to dismiss for lack of personal jurisdiction [d/e 14] is
place wherever and in whatever manner the employers
                                                                      GRANTED.
choose. Accordingly, the injury here does not stem from
Lathem’s Illinois contacts and does not establish specific
                                                                      The Clerk will terminate the Defendant’s motion to dismiss
jurisdiction.
                                                                      for failure to state a claim [d/e 9].
The Court concludes Bray has failed to rebut Lathem’s
                                                                      The Clerk will enter Judgment and terminate this case.
evidence demonstrating the lack of personal jurisdiction.
Lance Whipple’s Declaration noted that Lathem is
incorporated and headquartered in Georgia; does not have              All Citations
any real estate, accounts, personal property, employees, or
physical presence in Illinois; does not target Illinois or            Slip Copy, 2020 WL 1492742

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                                                                  jurisdiction. A federal court's “exercise of jurisdiction over
                                                                  the defendant must be authorized by the terms of the forum
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                                                                  state's personal jurisdiction statute and also must comport
    Only the Westlaw citation is currently available.
                                                                  with the requirements of the Fourteenth Amendment's Due
             United States District Court,
                                                                  Process Clause.” Felland v. Clifton, 682 F.3d 665, 672
            N.D. Illinois, Eastern Division.
                                                                  (7th Cir. 2012). The Illinois long-arm statute permits a
                Julia Egan, Plaintiff,                            court to exercise personal jurisdiction “on any ... basis now
                          v.                                      or hereafter permitted by the Illinois Constitution and the
    Huntington Copper, LLC, Huntington Copper                     Constitution of the United States.” 735 ILCS 5/2–209(c).
                                                                  Because “there is no operative difference between these two
        Moody MacGuire, HCMM, Inc., Patrick
                                                                  constitutional limits,” a federal court sitting in Illinois and
       MacGuire, David Pineda, Robert Popkey,
                                                                  evaluating a Rule 12(b)(2) motion asks “whether the exercise
   Williams Shapcott, and John Morris, Defendants.
                                                                  of personal jurisdiction would violate federal due process.”
                                                                  Mobile Anesthesiologists Chicago, LLC v. Anesthesia Assocs.
                          12 C 9034
                                                                  of Houston Metroplex, P.A., 623 F.3d 440, 443 (7th Cir. 2010)
                               |
                                                                  (citations omitted).
                   Filed February 14, 2014

Attorneys and Law Firms                                           “Under the Supreme Court's well-established interpretation of
                                                                  the Fourteenth Amendment's due process clause, a defendant
Matthew J. Blit, Levine & Blit, P.L.L.C., New York, NY,           is subject to personal jurisdiction in a particular state only
Daniel R. Griffin, O'Connell Tivin Miller & Burns, LLC,           if the defendant had certain minimum contacts with it such
Chicago, IL, Lewis G. Spicer, Levine & Blit, PLLC Syracuse,       that the maintenance of the suit does not offend traditional
NY, for Plaintiff.                                                notions of fair play and substantial justice.” Ibid. (internal
                                                                  quotation marks omitted). The Supreme Court has “framed
David Pineda, Coral Springs, FL, pro se.
                                                                  the constitutional inquiry in terms of whether the defendant
Jennifer Anne Naber, Laner Muchin, Ltd., Chicago, IL, Gary        purposefully avails itself of the benefits and protections
J. Wojtan, Wojtan, Vallone & Melin, P.C., Cheektowaga, NY,        of conducting activities in the forum state.” Id. at 444
Ryan D. Johnson, Johnson & Harris, LLC, Buffalo Grove, IL,        (internal quotation marks omitted). To be subject to personal
for Defendant.                                                    jurisdiction, “[t]he defendant's contacts must not be merely
                                                                  random, fortuitous, or attenuated; rather, the ‘defendant's
                                                                  conduct and connection with the forum state’ must be such
                                                                  that it should ‘reasonably anticipate being haled into court
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                                                                  there.’ ” Citadel Grp. Ltd. v. Wash. Reg. Med. Ctr., 536
Gary Feinerman, United States District Judge                      F.3d 757, 761 (7th Cir. 2008) (quoting Burger King Corp. v.
                                                                  Rudzewicz, 471 U.S. 462, 474–75 (1985)).
 *1 Julia Egan brought this employment suit against several
defendants. One of the defendants, David Pineda, who is pro       “Personal jurisdiction can be general or specific, depending
se, filed a motion to dismiss for lack of personal jurisdiction   on the extent of the defendant's contacts.” Mobile
and for failure to state a claim under Federal Rules of Civil     Anesthesiologists Chicago, 623 F.3d at 444. Egan pursues
Procedure 12(b)(2) and 12(b)(6). Doc. 19. The court deemed        only a theory of general jurisdiction against Pineda, Doc. 21
the motion to be not only a motion to dismiss, but also a         at 7–9, and therefore has forfeited any argument that specific
motion to vacate a technical default against Pineda. Doc. 20      jurisdiction lies over him. See RAR, Inc. v. Turner Diesel,
(Conlon, J.). After the case was reassigned to the undersigned    Ltd., 107 F.3d 1272, 1277 (7th Cir. 1997) (“RAR has never
judge, the court granted the motion to the extent it sought       alleged that Turner has such systematic contacts with Illinois.
to vacate the technical default and entered and continued the     RAR has thus waived any general jurisdiction argument, and
motion otherwise. Doc. 54.                                        we may focus exclusively on specific jurisdiction.”) (citation
                                                                  omitted). “A defendant is subject to general jurisdiction when
The court now considers the portion of the motion that            it has ‘continuous and systematic general business contacts'
seeks dismissal under Rule 12(b)(2) for lack of personal          with the forum state.” uBID, Inc. v. GoDaddy Grp., Inc.,



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623 F.3d 421, 425 (7th Cir. 2010) (quoting Helicopteros              Ohio, where his primary responsibility was the day-to-day
Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 415–             supervision of the Analysis Department. Doc. 19 at 9–10 (¶¶
16 (1984)). “This is a demanding standard,” id. at 426, that         2–3).
“requires that the defendant be ‘essentially at home’ in the
forum.” Abelesz v. OTP Bank, 692 F.3d 638, 651 (7th Cir.             In an effort to counter Pineda's evidence and support her
2012) (quoting Goodyear Dunlop Tires Operations, S.A. v.             submission that Pineda “resided in Illinois,” Doc. 21 at
Brown, 131 S.Ct. 2846, 2851 (2011)).                                 8, Egan frivolously argues that records obtained from the
                                                                     Cook County Recorder of Deeds show that “David Pineda”
 *2 Although factual disputes are resolved in the plaintiff's        owns “four residential properties in Chicago, Illinois; one
favor on a Rule 12(b)(2) motion, “once the defendant                 residential property in Oak Forest, Illinois; and one residential
has submitted affidavits or other evidence in opposition to          property in Lynwood, Illinois at various times throughout
the exercise of jurisdiction, the plaintiff must go beyond           the last several decades, including the present.” Doc. 21 at
the pleadings and submit affirmative evidence supporting             5. Those records fall far short of qualifying as “affirmative
the exercise of jurisdiction.” Purdue Research Found. v.             evidence” that our David Pineda lived in Illinois. Purdue
Sanofi–Synthelabo, S.A., 338 F.3d 773, 783 (7th Cir. 2003)           Research Found., 338 F.3d at 783. The records show only that
(footnote omitted). Egan was employed by one or more of the          properties in Illinois are owned by one person or some people
entity defendants—the parties dispute the identity of Egan's         named “David Pineda.” Doc. 29 at 5. “David Pineda” is not an
employer(s), but there is no need to resolve the dispute for         uncommon name; a search of www.whitepages.com (visited
purposes of this motion—in California. Doc. 1 at ¶ 22. The           Feb. 14, 2014) shows that several David Pinedas reside in
complaint alleges that Pineda had an “ownership interest in          Illinois and that several dozen live in the United States. Egan
Huntington [the term Egan uses to describe her employer],            provides no basis whatsoever to conclude or even suspect that
maintain[ed] day-to-day control over [Egan's] activities, and        one of the David Pinedas (or the David Pineda) who owns
maintain[ed] control over the essential functions of the             property in Illinois is our David Pineda.
business.” Id. at ¶ 12. Egan's brief asserts that “Pineda
personally and through his agents acting upon his behalf and         Egan alternatively and implicitly suggests that the
at his direction, had continuous and systematic contact with         Huntington's contacts in Illinois should be imputed to Pineda
the State of Illinois during 2011, as they were making sales,        for purposes of deciding whether general jurisdiction lies
soliciting sales, and providing business consulting services to      over Pineda. Doc. 21 at 8–9. This suggestion is contrary to
business [sic] within Illinois out of the LLC's office located       settled precedent holding that a business's contacts cannot
in Deer Park, Illinois.” Doc. 21 at 8. To support this assertion,    be attributed to individual officers or directors for purposes
Egan submits several exhibits: Huntington's registrations with       of determining whether personal jurisdiction lies over the
the North Carolina and Illinois Secretaries of State showing         individuals. See Young v. Colgate–Palmolive Co., 790 F.2d
that it was registered in North Carolina, that its principal place   567, 569–70 (7th Cir. 1986) (“the individual board members
of business was Ohio, and that it had an agent in Illinois,          cannot be said to have transacted business within Illinois
Doc. 22–1 at 1–2; Doc. 22–4; and Better Business Bureau              merely because the corporation is qualified to do business
printouts showing Huntington had an office in Illinois and that      here”) (citing Mergenthaler Linotype Co. v. Leonard Storch
complaints were filed against it by Illinois customers in 2011,      Enters., Inc., 383 N.E.2d 1379, 1385 (Ill.App.1978) (The
Doc. 22–2 at 1–2; Doc. 22–3 at 1–2.                                  “plaintiff ... has apparently assumed that if jurisdiction
                                                                     is found as to the [corporation] ... it must automatically
Given these materials, as well as Pineda's admission that            follow that jurisdiction exists as to the claim against [the
Huntington was “authorized to do business in almost every            president]. But this is not so.... Any transaction of business
state” and did a “small fraction of [its] business” in Illinois,     with Illinois residents was by the corporation and not by
Doc. 19 at 2–3, 10 (¶ 4), Egan has established that Huntington       the employee individually.”) (alterations in original)); W.
had contacts in Illinois. But the question here concerns             Va. Laborers Pension Trust Fund v. Caspersen, 829 N.E.2d
Pineda's contacts with Illinois. On that subject, Pineda             843, 849 (Ill.App.2005) (“As in Mergenthaler and Young,
submits an affidavit averring that he has lived in Florida           personal jurisdiction must be established by the individual
for the past ten years and in Pennsylvania before then, and          employee's acts and not the acts of the corporation.”); Olinski
that during Pineda's eighteen-month tenure at Huntington,            v. Duce, 508 N.E.2d 398, 400 (Ill.App.1987) (“A conclusion
he commuted from Florida to Huntington's headquarters in             that a foreign corporation is subject to Illinois jurisdiction



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                                                                       1996 WL 406633, at *4 (N.D.Ill. Aug. 22, 1996) (“The
does not require the further conclusion that an employee,
                                                                       fiduciary shield defense does not apply if the employee in
shareholder, president, or member of the board of directors
                                                                       question was also (or instead) acting to ‘serve his personal
of that corporation is also subject to Illinois jurisdiction.”);
                                                                       interests.’ For example, an individual who is a high-ranking
Continental Cas. Co. v. Marsh, 2002 WL 31870531, at *6
                                                                       company officer or shareholder has a direct financial stake
(N.D.Ill.Dec. 23, 2002) (holding that a company's contacts in
                                                                       in the company's health and can be subjected to personal
Illinois “do[ ] not establish that [the defendant], as opposed
                                                                       jurisdiction for actions that result in both personal and
[the company], had any personal ties to Illinois”); Berg v.
                                                                       corporate benefit.”) (citing Rice v. Nova Biomedical Corp.,
Anderson, 1995 WL 476671, at *5 (N.D. Ill. Aug 8, 1995)
                                                                       38 F.3d 909, 912–13 (7th Cir. 1994)). But the doctrine plays
(“However, Anderson, who is sued individually, must be
                                                                       no role where, as here, the shareholder or owner (Pineda)
distinguished from the corporation of which he is an officer
                                                                       has no contacts with the forum (Illinois) in the first place.
and a majority shareholder. None of the materials submitted
                                                                       See Flexicorps, Inc. v. Benjamin & Williams Debt Collectors,
to the Court indicate that Anderson has sufficient systematic
                                                                       Inc., 2007 WL 1560212, at *3 (N.D.Ill. May 29, 2007)
and continuous contacts with the State of Illinois such that
                                                                       (“In order for the fiduciary shield doctrine to apply, the
he might reasonably anticipate being haled into court in
                                                                       individual first must have minimum contacts with the forum
Illinois.”) (footnote omitted).
                                                                       state sufficient to establish personal jurisdiction.... Plaintiff
                                                                       cannot use the fiduciary shield doctrine to expand this Court's
 *3 Egan's invocation of the fiduciary shield doctrine, Doc.
                                                                       exercise of personal jurisdiction—the fiduciary shield is just
21 at 9, fares no better. The doctrine prevents a court
                                                                       that, a shield, not a sword.”).
assessing whether personal jurisdiction lies over an agent
from considering contacts that agent made in the State on
                                                                       For the foregoing reasons, Pineda's Rule 12(b)(2) motion
behalf of his or her employer. See ISI Int'l, Inc. v. Borden
                                                                       to dismiss for lack of personal jurisdiction is granted. The
Ladner Gervais LLP, 256 F.3d 548, 550 (7th Cir. 2001)
                                                                       claims against Pineda are dismissed without prejudice. See
(“Illinois employs the fiduciary-shield doctrine, under which
                                                                       Sikhs for Justice v. Badal, 736 F.3d 743, 751 (7th Cir. 2013)
a person who enters the state solely as fiduciary for another
                                                                       (“Ordinarily a dismissal for want of personal jurisdiction as
may not be sued in Illinois.”) (citation omitted); Rollins
                                                                       a result of improper service is without prejudice, leaving
v. Ellwood, 565 N.E.2d 1302, 1318 (Ill.1990) (deeming it
                                                                       the plaintiff free to refile the suit and seek to serve the
“unfair and unreasonable ... to assert personal jurisdiction
                                                                       refiled complaint on the defendant.”). This disposition makes
over an individual who seeks the protection and benefits
                                                                       it unnecessary to resolve Pineda's Rule 12(b)(6) motion to
of Illinois law, not to serve his personal interests, but to
                                                                       dismiss for failure to state a claim, which is denied without
serve those of his employer or principal”). Egan correctly
                                                                       prejudice as moot.
argues that doctrine generally does not apply to shareholders
and owners of companies because they act in their personal
interest while pursuing their company's business. See Elsner           All Citations
v. Brown, 996 N.E.2d 84, 95–97 (Ill.App.2013); Fountain
Marketing Grp., Inc. v. Franklin Progressive Resources, Inc.,          Not Reported in F.Supp.3d, 2014 WL 585316

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                                                                     generated that matches a face template already in Facebook's
                                                                     face database, then Facebook suggests that the user ‘tag’ to
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                                                                     that face the name already associated with [it].” (Id.)
    Only the Westlaw citation is currently available.
             United States District Court,
                                                                     When the photo of plaintiff was uploaded, “Facebook
            N.D. Illinois, Eastern Division.
                                                                     automatically scanned and analyzed Plaintiff's face, extracted
     Frederick William Gullen, on behalf of himself                  his biometric identifiers..., and then used those biometric
       and all others similarly situated, Plaintiff,                 identifiers to create a template of his face.” (Id. ¶ 30.)
                            v.                                       Facebook then asked the person who uploaded the photo to
                                                                     “tag” plaintiff's face, “at which point the [person] tagged the
            Facebook.com, Inc., Defendant.
                                                                     name ‘Frederick W. Gullen’ to Plaintiff's face.” (Id. ¶ 31.)
                         No. 15 C 7681
                               |                                     Plaintiff, who never gave Facebook his permission to collect
                      Signed 01/21/2016                              or store any biometric information about him, alleges that
                                                                     Facebook's actions violate BIPA. (Id. ¶ 33.) Defendant
                                                                     contends that the Court lacks personal jurisdiction over it and
       MEMORANDUM OPINION AND ORDER                                  that, even if jurisdiction exists, the BIPA claim fails on its
                                                                     merits.
HON. JORGE L. ALONSO, United States District Judge

 *1 Plaintiff sues defendant for its alleged violations of the
Illinois Biometric Information Privacy Act (“BIPA”), 740 Ill.                                  Discussion
Comp. Stat. 14/1 et seq. Defendant has filed a motion to
                                                                     Personal Jurisdiction
dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2)
                                                                     Federal courts sitting in diversity may exercise personal
and (6) for lack of personal jurisdiction and failure to state a
                                                                     jurisdiction over a nonresident defendant only if the forum-
claim. For the reasons set forth below, the Court grants in part
                                                                     state court would have such jurisdiction. Hyatt Int'l Corp.
and strikes as moot in part the motion.
                                                                     v. Coco, 302 F.3d 707, 713 (7th Cir. 2002). Illinois courts
                                                                     can “exercise jurisdiction on any...basis now or hereafter
                                                                     permitted by the Illinois Constitution and the Constitution of
                             Facts                                   the United States.” 735 Ill. Comp. Stat. 5/2-209(c). Because
                                                                     the state and federal standards are not substantively different,
Facebook is a Delaware corporation with its principal place          Hyatt, 302 F.3d at 715, the Court will address only the federal.
of business in California. (Compl. ¶ 8.) Plaintiff is a citizen of
Illinois who does not use Facebook. (Id. ¶ 7.)                       Plaintiff argues that the Court has specific personal
                                                                     jurisdiction over Facebook. 1 That is true only if Facebook
Plaintiff contends that Facebook obtained his biometric data
                                                                     has “ 'certain minimum contacts' with [Illinois] such that the
from a photo that was uploaded by a third party to Facebook.
                                                                     'maintenance of the suit does not offend 'traditional notions
It did so by using facial recognition technology, which “scans
                                                                     of fair play and substantial justice.' ” Advanced Tactical
every user-uploaded photo for faces, extracts...[the] biometric
                                                                     Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d
identifiers of each face, and then uses that data to create
                                                                     796, 801 (7th Cir. 2014) (quoting Int'l Shoe Co. v. Washington,
and store a template of each face.” (Id. ¶ 22.) Facebook's
                                                                     326 U.S. 310, 316 (1945)) (quotation omitted). For specific
“tag suggestion” feature, “which prompts a user to ‘tag’ a
                                                                     jurisdiction:
preselected name to a particular face,” compares the face
templates of people in newly-uploaded photos with the face              *2 The relevant contacts are those that center on
templates already saved in Facebook's database. (Id. ¶ 24.)            the relations among the defendant, the forum, and the
“If no match is found, the user is prompted to 'tag' (i.e.,            litigation. Id. [Walden v. Fiore, ___ U.S. ___, 134 S. Ct.
identify by name) a person to that face, at which point the face       1115, 1119 (2014)] (citing Keeton v. Hustler Mag., Inc., 465
template and corresponding name identification are saved               U.S. 770, 775, 104 S. Ct. 1473, 79 L. Ed. 2d 790 (1984)).
in Facebook's face database. However, if a face template is            Crucially, not just any contacts will do: “For a State



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  to exercise jurisdiction consistent with due process, the           operates a website that is accessible in the forum state,
  defendant's suit-related conduct must create a substantial          even if that site is ‘interactive.’ ” be2 LLC, 642 F.3d at
  connection with the forum State.” Id. at 1121 (emphasis             558 (citing Illinois v. Hemi Grp., LLC, 622 F.3d 754, 760
  added). The “mere fact that [defendant's] conduct affected          (7th Cir. 2010)). This makes sense; the operation of an
  plaintiffs with connections to the forum State does not             interactive website does not show that the defendant has
  suffice to authorize jurisdiction.” Id. at 1126. Furthermore,       formed a contact with the forum state. And, without the
  the relation between the defendant and the forum “must              defendant's creating a sufficient connection (or “minimum
  arise out of contacts that the ‘defendant himself’ creates          contacts”) with the forum state itself, personal jurisdiction
  with the forum....” Id. at 1122 (quoting Burger King Corp.          is not proper.
  v. Rudzewicz, 471 U.S. 462, 475, 105 S. Ct. 2174, 85 L.
  Ed. 2d 528 (1985)). Contacts between the plaintiff or other         ....Having an “interactive website” (which hardly rules
  third parties and the forum do not satisfy this requirement.        out anything in 2014) should not open a defendant up to
  Id.; see Walden, 134 S. Ct. at 1122.                                personal jurisdiction in every spot on the planet where that
                                                                      interactive website is accessible.
Id.; see Walden, 134 S. Ct. at 1122 (“We have consistently
rejected attempts to satisfy the defendant-focused ‘minimum         Advance Tactical, 751 F.3d at 803; see be2 LLC v. Ivanov, 642
contacts' inquiry by demonstrating contacts between the             F.3d 555, 558-59 (7th Cir. 2011) (“Beyond simply operating
plaintiff (or third parties) and the forum State.”) (citing         an interactive website that is accessible from the forum state,
Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.         a defendant must in some way target the forum state's market.
408, 417 (1984)).                                                   If the defendant merely operates a website, even a ‘highly
                                                                    interactive’ website, that is accessible from, but does not
According to the complaint, Facebook's contacts with                target, the forum state, then the defendant may not be haled
Illinois are that it is registered to do business here, has a       into court in that state without offending the Constitution.”)
sales and advertising office here, and “target[s] its facial        (citations omitted). Because plaintiff does not allege that
recognition technology to millions of users who are residents       Facebook targets its alleged biometric collection activities at
of Illinois.” (Compl. ¶ 10.) The first two contacts have            Illinois residents, the fact that its site is accessible to Illinois
no relationship to this suit, which arises from Facebook's          residents does not confer specific jurisdiction over Facebook.
alleged collection of biometric data from a photo, not from
its sales, marketing, or other business activity in Illinois.        *3 The result is the same if, as plaintiff seems to urge,
The third alleged contact, as the factual allegations of            this case is viewed as an intentional tort. The requirements
plaintiff's complaint illustrate, is not true. Plaintiff alleges    for specific jurisdiction in such a case are: (1) intentional
that Facebook uses facial recognition technology on “every          conduct...; (2) expressly aimed at the forum state; (3) with
user-uploaded photo,” not just on photos uploaded in or by          the defendant's knowledge that the effects would be felt–
residents of Illinois. (Compl. ¶ 22.) Given this tacit admission    that is, the plaintiff would be injured–in the forum state.”
that Facebook's alleged collection of biometric information         Tamburo v. Dworkin, 601 F.3d 693, 703 (7th Cir. 2010)
is not targeted at Illinois residents, the third “contact”          (citations omitted); see Walden, 134 S. Ct. at 1123 (“In [the]
becomes simply that Facebook operates an interactive website        context [of intentional torts], it is...insufficient to rely on a
available to Illinois residents.                                    defendant's random, fortuitous, or attenuated contacts or on
                                                                    the unilateral activity of a plaintiff. A forum State's exercise
The Court has not found a case analyzing specific jurisdiction      of jurisdiction over an out-of-state intentional tortfeasor must
over a social media website. However, the Seventh Circuit has       be based on intentional conduct by the defendant that creates
rejected the notion that an online merchant's operation of an       the necessary contacts with the forum.”) (quotation omitted).
interactive site is sufficient to confer specific jurisdiction on   As noted above, plaintiff alleges that Facebook uses the tag
it in every state from which the site can be accessed:              suggestions and facial recognition software on all uploaded
                                                                    photos, not just those uploaded in or by residents of Illinois.
  The interactivity of a website is...a poor proxy for adequate     Moreover, plaintiff does not, and could not plausibly, allege
  in-state contacts. We have warned that “[c]ourts should be        that Facebook knew an Illinois resident would upload a photo
  careful in resolving questions about personal jurisdiction        of him and tag his name to it, thereby (allegedly) giving
  involving online contacts to ensure that a defendant is not       Facebook access to plaintiff's biometric information. Thus,
  haled into court simply because the defendant owns or


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                                                                         For the reasons set forth above, the Court grants in part and
even if the Tamburo test applies here, plaintiff has not satisfied
                                                                         strikes as moot in part Facebook's Rule 12(b)(2) and (6)
it. 2
                                                                         motion to dismiss [18]. The Court grants the portion of the
                                                                         motion seeking dismissal for lack of personal jurisdiction and
In short, plaintiff has not made a prima facie showing that the
                                                                         strikes as moot the portion seeking dismissal for failure to
Court has specific jurisdiction over Facebook. See Tamburo,
                                                                         state a claim. Plaintiff's motion to appoint interim co-lead
601 F.3d at 700 (when the issue of personal jurisdiction
                                                                         class counsel [33] is stricken as moot. Civil case terminated.
is decided on the basis of written materials, plaintiff must
only make a prima facie case of personal jurisdiction) (citing
Purdue Research Found. v. Sanofi-Synthelabo, S.A., 338                   SO ORDERED.
F.3d 773, 782 (7th Cir. 2003)). Therefore, the Court grants
Facebook's motion to dismiss for lack of personal jurisdiction.          All Citations

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                          Conclusion



Footnotes
1       Plaintiff does not argue that general jurisdiction exists.
2       The fact that plaintiff sustained the alleged injury in Illinois “is jurisdictionally relevant only insofar as it shows that the
        defendant has formed a contact with the forum State. The proper question is not where the plaintiff experienced a
        particular injury or effect but whether the defendant's conduct connects him to the forum in a meaningful way.” Walden,
        134 S. Ct. at 1125.


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                                                                 apps to third parties. Interactive does not make any direct sales
                                                                 to any entity or customer in New York. None of Interactive's
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                                                                 geographically-targeted advertising has ever been directed
    Only the Westlaw citation is currently available.
                                                                 at New York and Interactive is not registered to transact
             United States District Court,
                                                                 business in New York. Neither Ventures nor Interactive has
                   S.D. New York.
                                                                 any office in New York; owns, leases, or has any property,
           SCAROLA ELLIS LLP, Plaintiff,                         real or personal, in New York; has any employee or any direct
                          v.                                     customers in New York. None of Ventures' or Interactive's
          SKYWORKS VENUTRES, INC. and                            revenues come directly from New York.
        Skyworks Interactive, Inc., Defendants.
                                                                 On June 4, 2007, Ventures signed a retainer agreement with
                  No. 09 Civ. 10003(DLC).                        Scarola to assist with its capital raising efforts. Interactive,
                              |                                  which did not even exist at the time, was not a party
                       Sept. 1, 2010.                            to the retainer agreement. Between June 2007 and July
                                                                 2009, Scarola invoiced Ventures approximately $1.2 million
Attorneys and Law Firms                                          for legal services. All invoices from Scarola were sent to
                                                                 Ventures and referenced Ventures as the client. Interactive
Richard J.J. Scarola, Scarola Ellis LLP, New York, NY, for       never executed an engagement letter with Scarola, or paid any
Plaintiff.
                                                                 monies to Scarola. Ventures ceased paying its bills in a timely
                                                                 way sometime in early 2009. Ventures claims that it has paid
Craig H. Kuglar, Krevolin & Horst, LLC, Atlanta, GA, for
                                                                 Scarola approximately $921,896 in legal fees.
Defendant.

                                                                 On September 30, 2009, Scarola filed a complaint against
                                                                 Ventures and Interactive in the Southern District of New York.
                    OPINION & ORDER
                                                                 See Scarola Ellis LLP v. Skyworks Ventures Inc., No. 09 Civ.
DENISE COTE, District Judge.                                     8309(DLC) (S.D.N.Y. filed Sept. 30, 2009). The case was
                                                                 assigned to this Court. After the defendants were granted
 *1 This action arises out of the efforts of plaintiff Scarola   two extensions of time to respond to the complaint—once
Ellis LLP (“Scarola”), a New York law firm, to recoup certain    at the behest of the defendants, the other by stipulation of
fees that it alleges a New Jersey-based client has not paid.     the parties-Scarola dismissed its claims without prejudice
The defendants have moved to dismiss the action or, in the       on December 1, three days before defendants were due to
alternative, to transfer the action pursuant to 28 U.S.C. §      respond and, apparently, file counterclaims against Scarola.
1404(a) to New Jersey. For the following reasons, the motion
is granted in part.                                              Six days later, on December 7, Scarola re-filed the identical
                                                                 complaint against the defendants. See Scarola Ellis LLP v.
                                                                 Skyworks Ventures Inc., No. 09 Civ. 10003(DLC) (S.D.N.Y.
                                                                 filed Dec. 7, 2009). Scarola admits that it “determined to re-
                      BACKGROUND
                                                                 file the action—this case-so as to be sure no preemptive action
Defendant Skyworks Ventures, Inc., f/k/a “Anedom                 was filed against it in a different jurisdiction.” On December
Company, Inc.” (“Ventures”) is a Delaware corporation with       14, this case was accepted as related to No. 09 Civ. 8309.
its principal place of business in New Jersey. Defendant         From December 7, 2009 to March 31, 2010 (114 days after
Skyworks Interactive, Inc. (“Interactive” and together with      filing), Scarola took no steps to serve the complaint on either
Ventures, the “defendants”), a wholly-owned subsidiary of        Ventures or Interactive.
Ventures, is a New Jersey corporation with its principal place
of business in New Jersey. Ventures acquired Interactive's        *2 By letter dated March 31, Scarola advised this Court that
                                            1                    “an involuntary bankruptcy petition has been filed against
predecessor-in-interest in December 2007.
                                                                 the defendants in this case” in the District of New Jersey
                                                                 on March 31. Scarola was not initially a petitioning creditor
Interactive sells applications (“apps”) for various platforms,
                                                                 against Interactive, but later joined the petition against
e.g., the Apple iPhone and Nintendo, who, in turn, sell these


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Interactive on May 3. Scarola requested that the Rule 16
pretrial conference in this action, scheduled for April 2,
be adjourned. Scarola's request was granted and the parties                    was an attempt to force Ventures to
were directed to submit a status letter by September 15.                       settle the disputed claim of Scarola
Scarola now admits that its March 31 letter was incorrect                      Ellis by impeding the dismissal of the
and misleading. Scarola was aware at the time that the                         Interactive case and throwing Ventures
involuntary bankruptcy petition had been filed only against                    into bankruptcy. This was a litigation
Interactive, not Ventures. Scarola has “apologize[d]” to the                   tactic that Scarola Ellis hoped would
Court and admitted that it “should have written a clarification                shortcut the suit in the District Court
or correction to this Court.”                                                  where they anticipated a defense and
                                                                               counterclaim would be filed if they
On May 11 (155 days after the complaint was filed), Scarola                    served the summons and complaint.
filed an involuntary bankruptcy petition against Ventures in
the District of New Jersey. On May 14, Ventures, but not
Interactive, filed a lawsuit against Scarola in New Jersey state
                                                                    *3 Id. at 579. A hearing on punitive damages is scheduled
court (the “New Jersey action”). In the New Jersey action,
                                                                   in the bankruptcy court for September 8.
Ventures alleges, inter alia, that Scarola over billed Ventures
for its services and breached its fiduciary duties to Ventures     On July 6, the defendants filed the instant motion to dismiss
by, among other things, using Ventures' proprietary investor       or transfer the action pursuant to the District of New Jersey.
lists to solicit business for itself. On May 21, Scarola filed a   The motion became fully submitted on July 30.
notice of removal of the New Jersey action to United States
District Court for the District of New Jersey, where the case
is currently pending.
                                                                                          DISCUSSION
On June 7, the bankruptcy court overseeing the involuntary
                                                                   1. Ventures
bankruptcy petitions against Interactive and Ventures,
                                                                   The complaint must be dismissed against Ventures pursuant
dismissed the petition against Interactive. Scarola never
                                                                   to Rule 4(m), Fed.R.Civ.P. Rule 4 provides in pertinent part:
advised this Court of the dismissal. On June 14, Scarola
purportedly served the summons and complaint against
Interactive on Sharon Fordham (“Fordham”), a director of
both Ventures and Interactive, at her office. According to                     If a defendant is not served within 120
Fordham, the process server “handed [her] papers without                       days after the complaint is filed, the
identifying them and told [her] to give them to Tom                            court—on motion or on its own after
Fordham.” Thomas Fordham is Sharon's husband and is also a                     notice to the plaintiff-must dismiss
director of both Ventures and Interactive. Fordham “sign[ed]                   the action without prejudice against
a sheet acknowledging receipt.”                                                that defendant or order that service be
                                                                               made within a specified time. But if
On June 28, the bankruptcy court dismissed the involuntary                     the plaintiff shows good cause for the
bankruptcy petition filed by Scarola against Ventures. Scarola                 failure, the court must extend the time
did not advise this Court of the dismissal. On July 1, Scarola                 for service for an appropriate period.
purportedly served the summons and complaint on Ventures.
On July 15, the bankruptcy court found that Scarola had filed
the petition against Ventures “in bad faith in a two-party         Fed.R.Civ.P. 4(m); Zapata v. City of New York, 502 F.3d 192,
dispute as a litigation tactic to force a settlement” and held     195 (2d Cir.2007).
that punitive damages would be awarded after hearing further
evidence. See In re Skyworks Ventures, Inc., 431 B.R. 573, 574     Scarola concedes that it did not serve Ventures within 120
(Bankr.D.N.J.2010). Specifically, the bankruptcy court found       days of filing the complaint. The complaint was filed on
that Scarola's petition                                            December 7, 2009. While the action was automatically stayed
                                                                   against Interactive pursuant to the involuntary bankruptcy



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petition filed in the District of New Jersey on March 31, 2010,       *4 If the transferee court would also have jurisdiction over
this stay did not apply to Ventures. The service clock therefore     the case, the court must determine whether, considering the
continued to run until Scarola filed an involuntary bankruptcy       “convenience of parties and witnesses” and the “interest
petition against Ventures on May 11, 2010—155 days after             of justice,” a transfer is appropriate. In making that
the complaint was filed. The stay as to Ventures was lifted          determination, a court considers:
on June 28 and Scarola purportedly served Ventures on July
1. Thus, Ventures was not served until 158 days after the
complaint was filed.                                                              (1) the plaintiff's choice of forum, (2)
                                                                                  the convenience of witnesses, (3) the
Scarola has not shown “good cause” for this failure. The                          location of relevant documents and
bankruptcy court found that Scarola deliberately did not serve                    relative ease of access to sources of
Ventures in this lawsuit as a tactical maneuver in an attempt                     proof, (4) the convenience of parties,
to force a settlement and avoid having counterclaims filed                        (5) the locus of operative facts, (6) the
against it. In any event, Scarola neither made any effort to                      availability of process to compel the
effect service on Ventures nor requested an extension of time                     attendance of unwilling witnesses, and
to serve. Although “district courts have the discretion to                        (7) the relative means of the parties.
grant extensions of the service period even where there is no
good cause shown,” Zapata, 502 F.3d at 196, the exercise of
such discretion is wholly unwarranted here. Accordingly, the         Id. at 112. A court may also consider “the forum's familiarity
complaint is dismissed without prejudice against Ventures.           with the governing law” and “trial efficiency and the interest
                                                                     of justice, based on the totality of the circumstances.” Berman
2. Interactive                                                       v. Informix Corp., 30 F.Supp.2d 653, 657 (S.D.N.Y.1998).
Interactive argues that this action should be dismissed for
lack of personal jurisdiction, or, in the alternative, transferred   If there are duplicative actions, a court must also consider
to the District of New Jersey pursuant to 28 U.S.C. §                whether the first-filed rule applies. “The first-filed rule states
1404(a). Scarola contends that there are sufficient facts            that, in determining the proper venue, where there are two
supporting personal jurisdiction over Interactive. If the Court      competing lawsuits, the first suit should have priority.” N.Y.
finds otherwise, Scarola requests additional discovery and           Marine, 599 F.3d at 112 (citation omitted); see also D.H.
a hearing on the issue of personal jurisdiction. Scarola also        Blair, 462 F.3d at 106. “This rule embodies considerations
opposes transfer of this action to New Jersey on the grounds         of judicial administration and conservation of resources by
that this was the “first-filed action.”                              avoiding duplicative litigation and honoring the plaintiff's
                                                                     choice of forum.” Emp'rs Ins. of Wausau v. Fox Ent't Grp.,
Even if personal jurisdiction exists as to Interactive, this         Inc., 522 F.3d 271, 275 (2d Cir.2008) (citation omitted).
action should be transferred to the District of New Jersey
where the New Jersey action is pending. The relevant                 There are two recognized exceptions to the first-filed rule:
law is well established. Section 1404 provides: “For the             “(1) where the ‘balance of convenience’ favors the second-
convenience of parties and witnesses, in the interest of justice,    filed action, and (2) where ‘special circumstances' warrant
a district court may transfer any civil action to any other          giving priority to the second suit.” Id. (citation omitted); see
district or division where it might have been brought.” 28           also N.Y. Marine, 599 F.3d at 112. “Special circumstances
U.S.C. § 1404(a). District courts have “broad discretion in          include manipulative or deceptive behavior on the part of the
making determinations of convenience under Section 1404(a)           first-filing plaintiff.” N.Y. Marine, 599 F.3d at 112. Thus, “the
and notions of convenience and fairness are considered on            first-filed rule is only a presumption that may be rebutted by
a case-by-case basis.” D.H. Blair & Co., Inc. v. Gottdiener,         proof of the desirability of proceeding in the forum of the
462 F.3d 95, 106 (2d Cir.2006). The movant bears the burden          second-filed action.” Id. at 113 (citation omitted).
of establishing, by “clear and convincing evidence,” that a
transfer of venue is warranted. N.Y. Marine & Gen. Ins. Co.          Here, even if this action were filed first 2 , special
v. Lafarge N. Am., Inc., 599 F.3d 102, 114 (2d Cir.2010).            circumstances exist to justify an exception to the first-filed
                                                                     rule. First, there is evidence that this was an anticipatory
                                                                     lawsuit. Scarola concedes that after it received “defendants'


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                                                                        compulsory process in New Jersey. The relative means of the
threat that they would imminently file their own action
                                                                        parties also favors transfer. Scarola, a New York law firm, is
presumably in New Jersey or some other inconvenient
                                                                        obviously more capable of litigating outside its home district
jurisdiction, [Scarola] determined to re-file the action—this
                                                                        than Interactive, a struggling start-up company with little or
case-so as to be sure no preemptive action was filed against it
                                                                        no connections to New York. In any event, consolidating the
in a different jurisdiction.” Additional evidence of Scarola's
                                                                        litigation between Scarola, Interactive, and Ventures in New
manipulative behavior is its abandonment of its September
                                                                        Jersey will allow all parties to conserve resources.
30, 2009 lawsuit as the defendants' time to answer neared,
and the fact that after filing this action, it neglected to serve
                                                                        While Scarola's attorneys and billing records are located
Ventures until well after 120 days had lapsed. Scarola also
                                                                        in New York, Scarola has not shown that it would be
did not serve Interactive until the very last possible day
                                                                        burdensome to litigate this action in New Jersey. Indeed,
under Rule 4(m). The bankruptcy court has found that Scarola
                                                                        it will already have to travel and transport its documents
purposefully failed to prosecute this action and pursued its
                                                                        to New Jersey as part of the New Jersey action. Scarola
involuntary bankruptcy petition against Ventures in bad faith
                                                                        claims that most of its work for Ventures and Interactive was
in an attempt to force defendants into a settlement and to
abandon their counterclaims against Scarola. Scarola has                performed in New York, but it does not dispute that it chose
                                                                        to service a New Jersey client or that some its meetings with
offered no other plausible explanation for its behavior.
                                                                        Ventures occurred in New Jersey. Thus the locus of operative
                                                                        facts is a neutral factor. Lastly, both fora are equally familiar
 *5 Moreover, the balance of convenience and judicial
                                                                        with the governing law, and therefore this factor is neutral.
economy favor transfer. Interactive contends that personal
                                                                        Accordingly, transfer of this action to the District of New
jurisdiction is lacking in this forum, but the parties do not
                                                                        Jersey is clearly warranted.
dispute that the District of New Jersey would have jurisdiction
over this matter. Although a plaintiff's choice of forum is
ordinarily accorded significant deference, such deference
is inappropriate where, as here, the plaintiff has failed to                                   CONCLUSION
diligently prosecute the action in its chosen forum. Transfer
will also promote trial efficiency because it will permit               Defendants' July 6, 2010 motion to dismiss the complaint or,
consolidation of this action with the New Jersey action, both           in the alternative, transfer this action, is granted in part. The
of which arise out of the same transactions. Scarola itself             complaint is dismissed against Ventures without prejudice.
acknowledges that the two actions are “substantially similar .”         The Clerk of Court shall transfer the remainder of the action
This factor therefore weighs heavily in favor of transfer.              against Interactive to the District of New Jersey.


The other § 1404(a) factors are either neutral or favor transfer.       SO ORDERED:
All of Interactive's employees, witnesses and documents
are located in New Jersey. In addition, given that many
                                                                        All Citations
of Interactive's employees may no longer work for the
company, but are more likely to be in New Jersey than New               Not Reported in F.Supp.2d, 2010 WL 3452381
York, transfer will allow those employees to be subject to


Footnotes
1       Ventures' principal place of business was in New York until it relocated to New Jersey after it purchased Interactive in
        December 2007.
2       Interactive argues that the New Jersey action qualifies as the “first-filed” action because Scarola was served with the
        complaint in that action before Interactive was served in this case, and therefore the New Jersey court was the first to
        obtain jurisdiction over the parties. This argument need not be addressed because even if this action were filed first,
        transfer is nonetheless appropriate under the circumstances of this case.


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